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 11   RON BENDER (SBN 143364)
      KRIKOR J. MESHEFEJIAN (SBN 255030)
 22   LINDSEY L. SMITH (SBN 265401)
 33   LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
      2818 La Cienega Avenue
 44   Los Angeles, California 90034
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: RB@LNBYG.COM; KJM@LNBYG.COM; LLS@LNBYG.COM
 66   Proposed Attorneys for Chapter 11 Debtors
 77   and Debtors in Possession

 88                             UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
 99                                    SANTA ANA DIVISION

10
10    In re:                                           Lead Case No.: 8:22-bk-10948-SC
11
11    TRX HOLDCO, LLC, a Delaware limited              Jointly administered with:
      liability company,                               8:22-bk-10949-SC
12
12
13
13            Debtor and Debtor in Possession.         Chapter 11 Cases
      ____________________________________
14
14    In re:
                                                       APPLICATION OF CHAPTER 11
15
15    FITNESS ANYWHERE LLC, a Delaware                 DEBTORS AND DEBTORS IN
                                                       POSSESSION TO EMPLOY LEVENE,
16    limited liability company, dba TRX and TRX       NEALE, BENDER, YOO & GOLUBCHIK
16
      Training,                                        L.L.P. AS GENERAL BANKRUPTCY
17
17                                                     COUNSEL; DECLARATION OF RON
              Debtor and Debtor in Possession.         BENDER, ESQ. IN SUPPORT THEREOF
18
18    ____________________________________
19
19                                                     [No hearing required unless requested
20       Affects both Debtors                          – L.B.R. 2014-1(b)]
20
21
21      Affects TRX Holdco, LLC only

22
22       Affects Fitness Anywhere, LLC only
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 11   TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY

 22   JUDGE:

 33          TRX Holdco, LLC (“Hold Co”) and Fitness Anywhere LLC, dba TRX and TRX Training
 44
      (“Product Co” and together with Hold Co and Product Co, collectively, the “Debtors”), the
 55
      debtors and debtors-in-possession in the above-captioned Chapter 11 bankruptcy cases1,
 66
      espectfully files this Application for authority to employ Levene, Neale, Bender, Yoo &
 77

 88   Golubchik L.L.P. (“LNBYG”) as general bankruptcy counsel, with compensation pursuant to 11

 99   U.S.C. § 330, with such employment to be effective as of the Petition Date.
10
10                                                   I.
11
11
                                         CASE BACKGROUND
12
12
13
13           On June 8, 2022, the Debtors each filed a voluntary petition for relief under Chapter 11 of

14
14    the Bankruptcy Code. Since the Petition Date, the Debtors have operated their businesses and

15
15    managed their affairs as debtors in possession pursuant to Sections 1107 and 1108 of the

16
16    Bankruptcy Code.

17
17           The Debtors and their respective subsidiaries (collectively referred to herein as “TRX”)

18
18    comprise a world leading functional fitness company. Since being founded in 2004, TRX has

19
19    evolved into a digitally-enabled, vertically integrated, omni-channel fitness lifestyle brand with

20
20    global reach powered by a large community of consumer and trainer enthusiasts. TRX’s flagship

21
21    and patented product - Suspension Trainer™ - is a highly versatile, portable, compact and

22
22    affordable fitness and training device/workout tool with broad reach across demographic groups

23
23    and fitness levels, which can be utilized effectively across fitness modalities. TRX offers a full

24
24    line of functional training tools and accessories to complement the Suspension Trainer™ to serve

25
25    all types of functional needs, from at-home essentials to complete gym installations. TRX also

26
26
27
27
      1
        The Court has already entered an order approving the joint administration of the two
28
28    bankruptcy cases.


                                                      2
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 11   launched in 2021 a purpose-built digital subscription-based platform - the TRX Training Club® -

 22   that offers a library of on-demand videos and daily live classes.

 33           Despite the development and success of the Debtors’ products over the years, the Debtors’

 44   revenue and cash flow from operations has been insufficient to support their current business

 55   operations as well as their continued growth. There have been many reasons for this including

 66   competition, macroeconomic conditions, purchases of inventory in anticipation of demand that did

 77   not occur in an unpredictable market, and higher than anticipated development costs associated

 88   with the Debtors’ digital training platform and increased marketing expenses, partially attributable

 99   to general increases in paid advertising. It became apparent in late 2021 that the Debtors would
10
10    require additional cash and investment to fund the Debtors’ long-term operations and growth and
11
11    satisfy the Debtors’ secured debt obligations owed to the Bank of more than $19 million.
12
12            Pre-petition, the Debtors hired Kroll Securities, LLC (“Kroll”) and Integrity Square LLC
13
13    to, among other things, identify prospective investors and seek to obtain additional investments in
14
14    the Debtors’ business to further capitalize the Debtors and meet the Debtors’ operational and
15
15    growth needs, or engage in a sale transaction. The Debtors’ pre-petition efforts to raise capital to
16
16    pay down debt or engage in a strategic merger/acquisition with/by a buyer or investor did not result
17
17    in a consummated transaction.
18
18            The Debtors’ current financial situation is precarious in that the Debtors estimate that
19
19    unless they can consummate a transaction or obtain additional financing, the Debtors will not have
20
20    sufficient liquidity to replenish inventory, impairing future customer sales and thereafter negatively
21
21    impacting the Debtors’ goodwill. The Debtors believe that if there was a shutdown of their
22
22    business with a resulting liquidation, it would be a disastrous result for creditors, including the
23
23    Bank.
24
24            Based on the foregoing, the Debtors determined in the exercise of their business judgment
25
25    that the best option available to the Debtors would be to conduct an expedited free and clear asset
26
26    sale in a chapter 11 bankruptcy proceeding and consummate that asset sale before the Debtors’
27
27    inventory falls below required operational levels and the Debtors run out of sufficient liquidity to
28
28    sustain operations. The Debtors believe that proceeding in this manner will afford them with the


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 11   best opportunity to achieve the maximum price possible for their assets for the benefit of their

 22   creditors and other parties in interest. The Debtors are optimistic that this free and clear asset sale

 33   process will result in a successful sale transaction closing.

 44           The Debtors have already obtained interim use of cash collateral with the consent of their

 55   secured lender, Woodforest National Bank (the “Bank”), In order for the Debtors to have the

 66   opportunity to attempt to consummate a sale of their business/assets, the Debtors must be able to

 77   continue to operate their business, and the only way for the Debtors to be able to continue to

 88   operate their business, including to fund the operations of their respective subsidiaries, is for the

 99   Debtors to have use of the cash collateral of the Bank. The Debtors expect to reach agreement
10
10    with the Bank on the Debtors’ continued use of cash collateral in connection with the final cash
11
11    collateral hearing scheduled to be held on June 30, 2022. The Debtors are also in discussions
12
12    with the Bank regarding providing the Debtors with additional post-bankruptcy financing.
13
13                                                      II.
14
14
                             EMPLOYMENT OF BANKRUPTCY COUNSEL
15
15
16
16            As debtors in chapter 11 bankruptcy cases, the Debtors require the services of

17
17    experienced bankruptcy counsel. The Debtors decided that LNBYG is the ideal bankruptcy

18
18    counsel to represent the Debtors taking into account firm size, experience, skill level and cost. In

19
19    that regard, the Debtors seek to employ LNBYG as their bankruptcy counsel, at the expense of

20
20    the Debtors’ bankruptcy estates, and to have the Debtors’ employment of LNBYG be deemed

21
21    effective as of the Petition Date.

22
22            The Debtors seek to employ LNBYG as their bankruptcy counsel to render, among

23
23    others, the following types of professional services:

24
24                    a.        advising the Debtors with regard to the requirements of the Bankruptcy

25
25    Court, Bankruptcy Code, Bankruptcy Rules and the Office of the United States Trustee as they

26
26    pertain to the Debtors;

27
27                    b.        advising the Debtors with regard to certain rights and remedies of their

28
28    bankruptcy estates and the rights, claims and interests of creditors;



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 11                   c.       representing the Debtors in any proceeding or hearing in the Bankruptcy

 22   Court involving their estates unless the Debtors are represented in such proceeding or hearing by

 33   other special counsel;

 44                   d.       conducting examinations of witnesses, claimants or adverse parties and

 55   representing the Debtors in any adversary proceeding except to the extent that any such

 66   adversary proceeding is in an area outside of LNBYG’s expertise or which is beyond LNBYG’s

 77   staffing capabilities;

 88                   e.       preparing and assisting the Debtors in the preparation of reports,

 99   applications, pleadings and orders including, but not limited to, applications to employ
10
10    professionals, interim statements and operating reports, initial filing requirements, schedules and
11
11    statement of financial affairs, lease pleadings, cash collateral pleadings, financing pleadings, and
12
12    pleadings with respect to the Debtors’ use, sale or lease of property outside the ordinary course
13
13    of business;
14
14                    f.       representing the Debtors with regard to obtaining use of debtor in
15
15    possession financing and/or cash collateral including, but not limited to, negotiating and seeking
16
16    Bankruptcy Court approval of any debtor in possession financing and/or cash collateral pleading
17
17    or stipulation and preparing any pleadings relating to obtaining use of debtor in possession
18
18    financing and/or cash collateral;
19
19                    g.       assisting the Debtors in any asset sale process;
20
20                    h.       assisting the Debtors in the negotiation, formulation, preparation and
21
21    confirmation of a plan of reorganization and the preparation and approval of a disclosure
22
22    statement in respect of the plan; and
23
23                    i.       performing any other services which may be appropriate in LNBYG’s
24
24    representation of the Debtors during their bankruptcy cases.
25
25            LNBYG is comprised of attorneys who specialize in and limit their practice to matters of
26
26    bankruptcy, insolvency, reorganization and commercial litigation and is well qualified to
27
27    represent the Debtors. All attorneys comprising or associated with LNBYG are admitted to
28
28    practice law in the California courts and in the United States District Court for the Central


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 11   District of California. A copy of LNBYG’s firm resume is attached as Exhibit “1” to the

 22   annexed Declaration of Ron Bender, Esq. (the “Bender Declaration”).

 33          LNBYG will bill its time for its representation of the Debtors on an hourly basis in

 44   accordance with LNBYG’s standard hourly billing rates. A listing of LNBYG’s current hourly

 55   billing rates is attached as Exhibit “2” to the annexed Bender Declaration. LNBYG will seek

 66   reimbursement of all of its expenses in accordance with the rates set forth in the guidelines

 77   promulgated by the Office of the United States Trustee. The Debtors expect that Ron Bender,

 88   Krikor Meshefejian and Lindsey Smith will be the primary attorneys at LNBYG responsible for

 99   the representation of the Debtors during their chapter 11 cases.
10
10           Because LNBYG’s practice is limited exclusively to matters of bankruptcy, insolvency,
11
11    reorganization and commercial litigation, the services provided by LNBYG do not include the
12
12    rendition of substantive legal advice outside of these areas such as corporate, tax, securities, tort,
13
13    environmental, labor, criminal, real estate law or real estate litigation. LNBYG will not be
14
14    required to represent or advise the Debtors in matters which LNBYG believes are beyond
15
15    LNBYG’s expertise such as the areas of law just described. In addition, LNBYG will not be
16
16    required to represent the Debtors in matters where LNBYG determines that it lacks the ability to
17
17    staff the matter adequately, such as in certain, major complex litigation.
18
18           During the one-year period prior to the Petition Date, Hold Co paid the total sum of
19
19    $10,000 to LNBYG, and Product Co paid the total sum of $110,000 to LNBYG, which
20
20    constituted pre-bankruptcy retainers for legal services in contemplation of and in connection with
21
21    the Debtors’ chapter 11 cases (collectively, the “Retainers”), which Retainers were inclusive of
22
22    the Debtors’ chapter 11 bankruptcy filing fees which LNBYG then paid to the Clerk of the
23
23    Court. LNBYG was advised by the Debtors that the source of payment of the Retainers was
24
24    from the Debtors’ respective funds. Except as described above, LNBYG has not been paid any
25
25    other money by the Debtors at any other time. LNBYG incurred approximately $97,669 of pre-
26
26    petition fees and expenses (inclusive of the chapter 11 filing fee that got paid to the Clerk of the
27
27    Court) representing Product Co, leaving a remaining pre-petition retainer balance for Product Co
28
28    of approximately $12,331, and LNBYG incurred approximately $8,403 of pre-petition fees and


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 11   expenses (inclusive of the chapter 11 filing fee that got paid to the Clerk of the Court)

 22   representing Hold Co, leaving a remaining pre-petition retainer balance for Hold Co of

 33   approximately $1,597.

 44          LNBYG negotiated the amount of the Retainers with the Debtors based upon a number of

 55   factors including, but not limited to, the size and complexity of the Debtors’ cases, the time that

 66   LNBYG expects to put forth in the Debtors’ cases, the limited amount of pre-petition funds the

 77   Debtors had available to them, and the expected availability of funds to pay LNBYG’s post-

 88   petition fees and expenses.

 99          LNBYG has not received any lien or other interest in property of the Debtors or of a third
10
10    party to secure payment of LNBYG’s fees or expenses.
11
11           LNBYG has no prepetition claim against the Debtors.
12
12           LNBYG will seek Court authority to be paid from the Debtors’ estates for any and all
13
13    post-petition fees incurred and expenses advanced by LNBYG. LNBYG recognizes that the
14
14    payment of any such additional fees and expenses will be subject to further Court order after
15
15    notice and a hearing.
16
16           The Debtors reserve the right to negotiate additional payment procedures with the Bank,
17
17    including any monthly payment procedure and/or professional fee carve outs but any such
18
18    additional agreement with the Bank will be presented separately to the Court, either in
19
19    connection with the final cash collateral hearing or in connection with any request by the Debtors
20
20    for Court approval of debtor-in-possession financing.
21
21           LNBYG has not shared or agreed to share its compensation for representing the Debtors
22
22    with any other person or entity, except among its members.
23
23           LNBYG will provide monthly billing statements to the Debtors that will set forth the
24
24    amount of fees incurred and expenses advanced by LNBYG during the previous month.
25
25           LNBYG understands the provisions of 11 U.S.C. Sections 327, 330 and 331 which
26
26    require, among other things, Court approval of the Debtors’ employment of LNBYG as
27
27    bankruptcy counsel and of all legal fees and reimbursement of expenses that LNBYG will
28
28


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 11   receive from the Debtors and the Debtors’ estates. LNBYG seeks to be employed pursuant to 11

 22   U.S.C. § 327(a) with its compensation to be pursuant to 11 U.S.C. §§ 330 and 331.

 33
      Additional Disclosures Pursuant to Rule 2014 of the Federal Rules of Bankruptcy Procedure.
 44

 55          LNBYG is not a creditor, an equity security holder or an insider of the Debtors.
 66          LNBYG is not and was not an investment banker for any outstanding security of the
 77   Debtors. LNBYG has not been within three years before the Petition Date an investment banker
 88   for a security of the Debtors, or an attorney for such an investment banker in connection with the
 99   offer, sale or issuance of any security of the Debtors.
10
10           Neither LNBYG nor any member of LNBYG is, nor was, within two years before the
11
11    Petition Date, a director, officer or employee of the Debtors or of any investment banker for any
12
12    security of the Debtors.
13
13           As set forth in the Bender Declaration, to the best of LNBYG’s knowledge, LNBYG does
14
14    not hold or represent any interest materially adverse to the interest of the Debtors’ estates or of
15
15    any class of creditors or equity security holders, by reason of any direct or indirect relationship
16
16    to, connection with, or interest in, the Debtors or an investment banker for any security of the
17
17    Debtors, or for any other reason.
18
18           As further set forth in the Bender Declaration, to the best of LNBYG’s knowledge,
19
19    LNBYG does not hold or represent any interest materially adverse to the Debtors or the Debtors’
20
20    estates, and LNBYG is a “disinterested person” as that term is defined in Section 101(14) of the
21
21    Bankruptcy Code. Also, to the best of LNBYG’s knowledge, other than as set forth herein,
22
22    LNBYG has no prior connection with the Debtors, any creditors of the Debtors or their
23
23    bankruptcy estates, or any other party in interest in these cases, or their respective attorneys or
24
24    accountants, the United States Trustee or any person employed by the United States Trustee.
25
25           As indicated above, the Debtors expect to consummate a sale of their assets in an
26
26    expedited sale process. The Debtors do not expect that any conflict will arise resulting from
27
27    LNBYG’s representation of both Debtors, and the Debtors believe that hiring separate counsel
28
28


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 11   for each of the Debtors would be extremely burdensome, expensive, inefficient, impractical and

 22   unnecessary. In the event that any conflict issue(s) arise between the Debtors, LNBYG will

 33   notify the Court and address such conflict that would be appropriate under the circumstances,

 44   including having one or both Debtors hiring special counsel to address the issue or conflict.

 55          Because the majority of the assets are owned by Product Co and all or essentially all of

 66   the business operations of the Debtors are conducted by Product Co, LNBYG proposes to bill all

 77   of its time to the Product Co bankruptcy case unless the matter deals only with the Hold Co

 88   bankruptcy case in which case LNBYG will bill its time to the Hold Co bankruptcy case.

 99          As a matter of disclosure only, Todd A. Frealy, a partner of LNBYG, is a panel trustee
10
10    for the Central District of California (Riverside Division); Timothy J. Yoo and Edward M.
11
11    Wolkowitz, partners of LNBYG, are panel trustees for the Central District of California (Los
12
12    Angeles Division); and JP Fritz, a partner of LNBYG, serves as a sub V Trustee in the Central
13
13    District of California. The Debtors do not anticipate that any of these four gentlemen will
14
14    provide any services to the Debtors.
15
15           The Debtors believe that their employment of LNBYG upon the terms and conditions set
16
16    forth above is in the best interest of the Debtors’ estates.
17
17    ///
18
18    ///
19
19    ///
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20    ///
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21    ///
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 11            WHEREFORE, the Debtors respectfully request that the Court approve the Debtors’
 22   employment of LNBYG as their bankruptcy counsel upon the terms and conditions set forth
 33   above.
 44   Dated: June 16, 2022
 55
      TRX HOLDCO, LLC
 66

 77
      __________________________________________
 88
      Name: Brent Leffel
 99   Title: Chairman

10
10    FITNESS ANYWHERE LLC, dba TRX and TRX TRAINING
11
11
12
12
      __________________________________________
13
13    Name: Michael Zuercher
      Title: General Counsel
14
14
15
15                                             LEVENE, NEALE, BENDER, YOO
16
16                                             & GOLUBCHIK L.L.P.

17
17                                             By: /s/ Ron Bender
                                                      Ron Bender
18
18                                                    Krikor J. Meshefejian
                                                      Lindsey L. Smith
19
19
                                                      Proposed Counsel for Chapter 11 Debtors
20
20                                                    and Debtors in Possession

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 11                             DECLARATION OF RON BENDER, ESQ.

 22             I, Ron Bender, Esq., hereby declare as follows:

 33             1.     I have personal knowledge of the facts set forth below and, if called to testify,

 44   would and could competently testify thereto. Capitalized terms not otherwise defined herein

 55   shall have the same meaning ascribed to such terms in the “Application Of Debtors And Debtors

 66   In Possession To Employ Levene, Neale, Bender, Yoo & Golubchik L.L.P. As Bankruptcy

 77   Counsel Pursuant To 11 U.S.C. §§ 327, 330, and 331” to which this Declaration is attached (the

 88   “Application”).

 99             2.     I am a founding and managing partner of the law firm of Levene, Neale, Bender,
10
10    Yoo & Golubchik L.L.P. (“LNBYG”). I am an attorney licensed to practice law in the State of
11
11    California, in the United States District Court and the Bankruptcy Courts for the Southern,
12
12    Central, Northern and Eastern Districts of California, and in the United States Court of Appeals
13
13    for the Ninth Circuit. I have represented hundreds of chapter 11 debtors throughout my legal
14
14    career.
15
15              3.     TRX Holdco, LLC (“Hold Co”) and Fitness Anywhere LLC, dba TRX and TRX
16
16    Training (“Product Co” and together with Hold Co and Product Co, collectively, the “Debtors”),
17
17    the debtors and debtors-in-possession in the above-captioned Chapter 11 bankruptcy cases have
18
18    requested LNBYG to serve as their bankruptcy counsel in connection with their chapter 11
19
19    bankruptcy cases that the Debtors commenced on June 8, 2022 (the “Petition Date”).
20
20              4.     As debtors in pending chapter 11 bankruptcy cases, the Debtors require the
21
21    services of experienced bankruptcy counsel. The Debtors seek to employ LNBYG as their
22
22    bankruptcy counsel, at the expense of the Debtors’ bankruptcy estates, and to have the Debtors’
23
23    employment of LNBYG be deemed effective as of the Petition Date.
24
24              5.     The Debtors seek to employ LNBYG as their bankruptcy counsel to render,
25
25    among others, the following types of professional services:
26
26                     a.       advising the Debtors with regard to the requirements of the Bankruptcy
27
27    Court, Bankruptcy Code, Bankruptcy Rules and the Office of the United States Trustee as they
28
28    pertain to the Debtors;


                                                       11
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 11                   b.       advising the Debtors with regard to certain rights and remedies of their

 22   bankruptcy estates and the rights, claims and interests of creditors;

 33                   c.       representing the Debtors in any proceeding or hearing in the Bankruptcy

 44   Court involving their estates unless the Debtors are represented in such proceeding or hearing by

 55   other special counsel;

 66                   d.       conducting examinations of witnesses, claimants or adverse parties and

 77   representing the Debtors in any adversary proceeding except to the extent that any such

 88   adversary proceeding is in an area outside of LNBYG’s expertise or which is beyond LNBYG’s

 99   staffing capabilities;
10
10                    e.       preparing and assisting the Debtors in the preparation of reports,
11
11    applications, pleadings and orders including, but not limited to, applications to employ
12
12    professionals, interim statements and operating reports, initial filing requirements, schedules and
13
13    statement of financial affairs, lease pleadings, cash collateral pleadings, financing pleadings, and
14
14    pleadings with respect to the Debtors’ use, sale or lease of property outside the ordinary course
15
15    of business;
16
16                    f.       representing the Debtors with regard to obtaining use of debtor in
17
17    possession financing and/or cash collateral including, but not limited to, negotiating and seeking
18
18    Bankruptcy Court approval of any debtor in possession financing and/or cash collateral pleading
19
19    or stipulation and preparing any pleadings relating to obtaining use of debtor in possession
20
20    financing and/or cash collateral;
21
21                    g.       assisting the Debtors in any asset sale process;
22
22                    h.       assisting the Debtors in the negotiation, formulation, preparation and
23
23    confirmation of a plan of reorganization and the preparation and approval of a disclosure
24
24    statement in respect of the plan; and
25
25                    i.       performing any other services which may be appropriate in LNBYG’s
26
26    representation of the Debtors during their bankruptcy cases.
27
27            6.      LNBYG is comprised of attorneys who specialize in and limit their practice to
28
28    matters of bankruptcy, insolvency, reorganization and commercial litigation and is well qualified


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 11   to represent the Debtors. All attorneys comprising or associated with LNBYG are admitted to

 22   practice law in the California courts and in the United States District Court for the Central

 33   District of California. A copy of LNBYG’s firm resume is attached hereto as Exhibit “1”.

 44          7.      LNBYG will bill its time for its representation of the Debtors on an hourly basis

 55   in accordance with LNBYG’s standard hourly billing rates. A listing of LNBYG’s current

 66   hourly billing rates is attached hereto as Exhibit “2”. LNBYG will seek reimbursement of all of

 77   its expenses in accordance with the rates set forth in the guidelines promulgated by the Office of

 88   the United States Trustee. I expect that Krikor Meshefejian, Lindsey Smith and I will be the

 99   primary attorneys at LNBYG responsible for the representation of the Debtors during their
10
10    chapter 11 cases, with me serving as lead counsel.
11
11           8.      Because LNBYG’s practice is limited exclusively to matters of bankruptcy,
12
12    insolvency, reorganization and commercial litigation, the services provided by LNBYG do not
13
13    include the rendition of substantive legal advice outside of these areas such as corporate, tax,
14
14    securities, tort, environmental, labor, criminal, real estate law or real estate litigation. LNBYG
15
15    will not be required to represent or advise the Debtors in matters which LNBYG believes are
16
16    beyond LNBYG’s expertise such as the areas of law just described. In addition, LNBYG will
17
17    not be required to represent the Debtors in matters where LNBYG determines that it lacks the
18
18    ability to staff the matter adequately, such as in certain, major complex litigation.
19
19           9.      During the one-year period prior to the Petition Date, Hold Co paid the total sum
20
20    of $10,000 to LNBYG, and Product Co paid the total sum of $110,000 to LNBYG, which
21
21    constituted pre-bankruptcy retainers for legal services in contemplation of and in connection with
22
22    the Debtors’ chapter 11 cases (collectively, the “Retainers”), which Retainers were inclusive of
23
23    the Debtors’ chapter 11 bankruptcy filing fees which LNBYG then paid to the Clerk of the
24
24    Court. LNBYG was advised by the Debtors that the source of payment of the Retainers was
25
25    from the Debtors’ respective funds. Except as described above, LNBYG has not been paid any
26
26    other money by the Debtors at any other time. LNBYG incurred approximately $97,669 of pre-
27
27    petition fees and expenses (inclusive of the chapter 11 filing fee that got paid to the Clerk of the
28
28    Court) representing Product Co, leaving a remaining pre-petition retainer balance for Product Co


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 11   of approximately $12,331, and LNBYG incurred approximately $8,403 of pre-petition fees and

 22   expenses (inclusive of the chapter 11 filing fee that got paid to the Clerk of the Court)

 33   representing Hold Co, leaving a remaining pre-petition retainer balance for Hold Co of

 44   approximately $1,597.

 55          10.     LNBYG negotiated the amount of the Retainers with the Debtors based upon a

 66   number of factors including, but not limited to, the size and complexity of the Debtors’ cases, the

 77   time that LNBYG expects to put forth in the Debtors’ cases, the limited amount of pre-petition

 88   funds the Debtors had available to them, and the expected availability of funds to pay LNBYG’s

 99   post-petition fees and expenses.
10
10           11.     LNBYG has not received any lien or other interest in property of the Debtors or
11
11    of a third party to secure payment of LNBYG’s fees or expenses.
12
12           12.     LNBYG has no prepetition claim against the Debtors.
13
13           13.     LNBYG will seek Court authority to be paid from the Debtors’ estates for any and
14
14    all post-petition fees incurred and expenses advanced by LNBYG. LNBYG recognizes that the
15
15    payment of any such additional fees and expenses will be subject to further Court order after
16
16    notice and a hearing.
17
17           14.     The Debtors reserve the right to negotiate additional payment procedures with the
18
18    Bank, including any monthly payment procedure and/or professional fee carve outs but any such
19
19    additional agreement with the Bank will be presented separately to the Court, either in
20
20    connection with the final cash collateral hearing or in connection with any request by the Debtors
21
21    for Court approval of debtor-in-possession financing.
22
22           15.     LNBYG has not shared or agreed to share its compensation for representing the
23
23    Debtors with any other person or entity, except among its members.
24
24           16.     LNBYG will provide monthly billing statements to the Debtors that will set forth
25
25    the amount of fees incurred and expenses advanced by LNBYG during the previous month.
26
26           17.     LNBYG understands the provisions of 11 U.S.C. Sections 327, 330 and 331
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27    which require, among other things, Court approval of the Debtors’ employment of LNBYG as
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28    bankruptcy counsel and of all legal fees and reimbursement of expenses that LNBYG will


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 11   receive from the Debtors and the Debtors’ estates. LNBYG seeks to be employed pursuant to 11

 22   U.S.C. § 327(a) with its compensation to be pursuant to 11 U.S.C. §§ 330 and 331.

 33
      Additional Disclosures Pursuant to Rule 2014 of the Federal Rules of Bankruptcy Procedure.
 44

 55          18.     LNBYG is not a creditor, an equity security holder or an insider of the Debtors.

 66          19.     LNBYG is not and was not an investment banker for any outstanding security of

 77   the Debtors. LNBYG has not been within three years before the Petition Date an investment
 88
      banker for a security of the Debtors, or an attorney for such an investment banker in connection
 99
      with the offer, sale or issuance of any security of the Debtors.
10
10
             20.     Neither LNBYG nor any member of LNBYG is, nor was, within two years before
11
11
12    the Petition Date, a director, officer or employee of the Debtors or of any investment banker for
12
13
13    any security of the Debtors.

14
14           21.     To the best of my knowledge, LNBYG does not hold or represent any interest
15
15    materially adverse to the interest of the Debtors’ estates or of any class of creditors or equity
16
16
      security holders, by reason of any direct or indirect relationship to, connection with, or interest
17
17
      in, the Debtors or an investment banker for any security of the Debtors, or for any other reason.
18
18
             22.     To the best of my knowledge, LNBYG does not hold or represent any interest
19
19
20
20    materially adverse to the Debtors or the Debtors’ estates, and LNBYG is a “disinterested person”

21
21    as that term is defined in Section 101(14) of the Bankruptcy Code. Also, to the best of my

22
22    knowledge, other than as set forth immediately below, LNBYG has no prior connection with the
23
23    Debtors, any creditors of the Debtors or their bankruptcy estates, or any other party in interest in
24
24
      these cases, or their respective attorneys or accountants, the United States Trustee or any person
25
25
      employed by the United States Trustee. As a matter of disclosure only, in late 2020, LNBYG
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26
      was retained by an entity known as Superfood Holdings, LLC, primarily to assist that company
27
27
28
28    with the negotiation of lease settlements to help facilitate an asset sale of that company’s



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 11   business that I understand closed in or around July, 2021. I understand that the controlling
 22   interest in Superfood Holdings, LLC is ultimately owned by a special purpose entity that is
 33
      managed by Equity 38, LLC. I am advised that Equity 38, LLC also manages two special
 44
      purpose entities (E38-TRX, LLC and E38-TRX Holdco Investments, LLC) that in the aggregate
 55
      own 100% of the interests in TRX Holdco, LLC, and that TRX Holdco, LLC in turn owns a
 66

 77   controlling interest in Fitness Anywhere LLC. LNBYG does not and has not ever represented

 88   any of these entities that are affiliated with the Debtors, and LNBYG will not be representing

 99   any entity in these chapter 11 cases other than the Debtors.
10
10
              23.    As indicated above, it is my understanding that the Debtor expect to consummate
11
11
      a sale of their assets in an expedited sale process. I do not expect that any conflict will arise
12
12
      resulting from LNBYG’s representation of both Debtors, and I believe that hiring separate
13
13
14    counsel for each of the Debtors would be extremely burdensome, expensive, inefficient,
14
15
15    impractical and unnecessary. In the event that any conflict issue(s) arise between the Debtors,

16
16    LNBYG will notify the Court and address such conflict that would be appropriate under the
17
17    circumstances, including having one or both Debtors hiring special counsel to address the issue
18
18
      or conflict.
19
19
              24.    As a matter of disclosure only, Todd A. Frealy, a partner of LNBYG, is a panel
20
20
      trustee for the Central District of California (Riverside Division); Timothy J. Yoo and Edward
21
21
22    M. Wolkowitz, partners of LNBYG, are panel trustees for the Central District of California (Los
22
23
23    Angeles Division); and JP Fritz, a partner of LNBYG, serves as a sub V Trustee in the Central

24
24    District of California. I do not anticipate that any of these four gentlemen will provide any
25
25    services to the Debtors.
26
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      ///
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 11         I declare and verify under penalty of perjury that the foregoing is true and correct to the
 22   best of my knowledge.
 33
            Executed on this 16th day of June, 2022, at Los Angeles, California.
 44

 55
                                                      /s/ Ron Bender
 66                                              RON BENDER, ESQ., Declarant
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 11
                                       EXHIBIT “1”
 22

 33                                 [LNBYG RESUME]
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                                                      LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
                                                                                                 LAW OFFICES




Professional Resume

PROFESSIONAL POSITIONS
1995 to Present: Co-founder and counsel to Levene, Neale, Bender, Yoo
& Brill L.L.P., a nationally recognized business reorganization, commercial
litigation and bankruptcy law firm. Also Mr. Levene is the founder of Levene
Mediation, an alternative dispute resolution firm specializing in mediation. Mr.
Levene has developed over the years a reputation of being a peacemaker,
creative problem solver and someone adept at bringing parties and
professionals together to reach agreed resolution and thereby avoid or
curtailing the time, expense and turmoil associated with litigation.

1983 to 1995: Founder of Levene & Eisenberg, P.C., a law firm also
specializing in matters of business reorganization, commercial litigation and
bankruptcy.

1974 to 1983: Shareholder with BuchalterNemer, a full service law firm with a            David W. Levene
commercial law and bankruptcy section.                                                   dwl@lnbyb.com


HONORS
Multiple inclusions in the Los Angeles Business Journal listing of “100 Most
Prominent Business Attorneys.”
Regularly listed as a “Super Lawyer” in the annual peer review surveys.
Designated “AV Preeminent” in Martindale-Hubbell.

EDUCATION
Loyola University School of Law, J.D.
University of Southern California, M.B.A., Finance & Marketing
University of Southern California, B.S., Business Administration

BAR ADMISSIONS
State Bar of California
United States District Court for the Northern District of California
United States District Court for the Central District of California
United States District Court for the Eastern District of California
United States District Court for the Southern District of California
United States Court of Appeals for the Ninth Circuit




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                                                 LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
                                                                                            LAW OFFICES



David W. Levene
Professional Resume
continued from page 1




MEMBERSHIPS AND AFFILIATIONS
• Southern California Mediation Association
• American Bar Association (Alternative Dispute Resolution Section)
• Beverly Hills Bar Association (Alternative Dispute Resolution Section and
  Past Chair of Bankruptcy Section)
• Los Angeles County Bar Association (past member: Executive Committee,
  Commercial Law and Bankruptcy Section; Bankruptcy Subcommittee)
• Federal Bar Association
• Financial Lawyers Conference
• California Bankruptcy Forum
• American Bankruptcy Institute
• Turnaround Management Association

GUEST LECTURES
• Frost & Sullivan, Inc. – “Loan Workouts, LBOs and Bankruptcy”
• The Banking Law Institute – “Loan Workouts, Restructures and
  Bankruptcy”
• Drexel Burnham Lambert – “Chapter 11”
• Financial Lawyers Conference – “Fraudulent Conveyances”
• Los Angeles Bankruptcy Forum – “Out of Court Reorganizations”
• Orange County Bankruptcy Forum – “Restructuring Financially Troubled
  Businesses”
• Jewelers Board of Trade – “Consignment Issues in Bankruptcy”
• Turnaround Management Association – “Case Study on Representation of
  Debtor in Out of Court Workouts and Chapter 11”
• Turnaround Management Association – “Gaining Confidence of Lenders
  and Creditors in Workouts and Restructurings”
• Young Presidents Organization – “Acquisition and Investment
  Opportunities in Bankruptcy Reorganization Cases”
• The Counselors of Real Estate Convention – “Chapter 11 and the Role of
  the Real Estate Advisor”
• Association of Insolvency Accountants Valuation Conference – “Valuation
  Issues in Chapter 11 Cases
• Orange County Bankruptcy Forum – “Workouts”
• American Society of Appraisers – “Role of Appraisers in Bankruptcy and
  Reorganization Cases”
• Fulcrum Information Services – “Workouts and Restructuring”

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                                                                                                                      LAW OFFICES




DAVID L. NEALE began his legal career in New York, with the law firm of Kramer,
Levin, Nessen, Kamin & Frankel, where he represented creditors and creditors’
committees in large, complex cases such as Texaco Inc., LTV Steel and Charter
Co. When Mr. Neale relocated to California in 1989, to join the law firm of Levene &
Eisenberg, he brought with him an understanding of creditors’ rights and remedies
that he was able to apply to the representation of debtors and other constituencies in
bankruptcy and workout situations.


His broad experience includes handling cases in a variety of areas including:
Manufacturing (successful Chapter 11 reorganization for companies such as Future
Media Productions, a manufacturer of blank CDs and DVDs; California Aircraft &
Engines, Inc., a manufacturer of aircraft engine parts with claimants from around the
                                                                                                 DAVID L. NEALE
world; DCC Compact Classics, Inc., a manufacturer of specialty CDs and recordings;
                                                                                                 dln@lnbyg.com
Fernandes Guitars, a manufacturer of electric and acoustic guitars for distribution
around the world); Food and beverage industry (Chinois Restaurant, success-
ful Chapter 11 reorganization for a Las Vegas restaurant; Café-Melisse Valencia,
successful out-of court workout and orderly liquidation; Galletti Brothers Foods,
successful Chapter 11 reorganization for one of the nation’s largest fresh seafood
wholesalers) Crunchies Food Company, successful Chapter 11 sale of assets of
retailer of dried fruit snacks); Construction (successful Chapter 11 reorganization
for Rock & Waterscape, Inc., builder of water-themed features in Las Vegas and
around the world); Real Estate (successful Chapter 11 cases for Roosevelt Lofts,
LLC, involving a condominium conversion in downtown Los Angeles; North Silver
Lake Lodge, LLC, involving one of the last undeveloped parcels of real property in
the Deer Valley, Utah ski resort area; IDM Corporation and its affiliates requiring
the restructuring of over $1 billion in debt; and Galletti Brothers Investments, a real
estate partnership with multiple properties. He has also represented Ritter Ranch
Development, the owner of an 11,000-acre development property in Palmdale; and
National Enterprises, Inc. and San Diego Investments, real estate management and
development companies with properties across the United States); Energy (repre-
senting the California Independent System Operator Corporation in connection with
the bankruptcy cases of California Power Exchange, Pacific Gas & Electric Co.,
Enron Inc. and Mirant and its affiliates; Evergreen Oil, an oil re-refining company
operating throughout California); Banking and finance (Imperial Credit Industries,


continued. . .                                                                   pg 1 of 4




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DAVID L. NEALE                                                                        L NB Y& G
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Inc.); Trucking (Green Fleet Systems and TKS Leasing, successfully confirming a
plan of reorganization for a short-haul trucking company operating out of the ports
of Los Angeles and Long Beach; Coast Bridge Logistics, Inc. representing another
short-haul trucking company in connection with the sale of its assets; Consolidated
Freightways and its affiliates, in which Mr. Neale represented multi-employer pension
funds that were the largest creditors and went on to represent the post-confirmation
Plan Oversight Committee and serve as special counsel to the Liquidating Trust in
certain litigation and appellate matters, and The Penn Traffic Co. and its affiliates, in
which Mr. Neale represented certain multi-employer retirement, health and welfare
funds); Health Care (Solid Landings Behavioral Health and its affiliates, operators of
rehab facilities in California, Texas and Nevada); North American Health Care and affil-
iates (operators of skilled nursing facilities); Technology and Communication (WCI
Cable, Inc., a fiber optic cable network located in Oregon and Alaska); and Retail
(successful Chapter 11 cases for Ortho Mattress, Inc., a manufacturer and retailer of
bedding products; Britches of Georgetowne, Inc., a clothing retailer with outlets in sev-
eral states). Mr. Neale has a particular expertise in the Entertainment Industry. He
has represented clients involved in publishing (New Millennium Entertainment, Buzz
Magazine); film exhibition (Resort Theaters of America); film production (Franchise
Pictures, LLC and its affiliates); The Samuel Goldwyn Company in connection with
its acquisition of Heritage Entertainment); music (Even St. Productions, LLC, the
owner of rights relating to the catalogue of Sly & the Family Stone) and artists (Gladys
Knight, Mick Fleetwood, Lynn Redgrave, among others). He has also successfully rep-
resented numerous individual Chapter 11 debtors with respect to personal real estate
holdings and liabilities and other financial difficulties. Mr. Neale has also represented
numerous purchasers, equity interest holders, creditors and official committees in
many Chapter 11 cases around the country. This is a small sample of the cases he
has handled over his almost 30-year legal career.


Mr. Neale is both an experienced and aggressive litigator whose cases have resulted
in over a dozen notable published opinions by the Bankruptcy Court, District Court
and Ninth Circuit Court of Appeals. He also brings his negotiating skills to bear as
a member of the Mediation Panel for the Bankruptcy Court for the Central District
of California. He is a member of the American Bar Association, Association of the
Bar of the City of New York, New York County Bar Association, Century City Bar


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DAVID L. NEALE                                                                    L NB Y& G
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Association, Beverly Hills Bar Association, Financial Lawyers Conference, Turnaround
Management Association, and the Commercial Law League of America. He has
served on the Board of Directors of the AIDS Project Los Angeles and the Los
Angeles division of the American Friends of Hebrew University.


Mr. Neale received his B.A., summa cum laude from Princeton University in 1984 and
his J.D. from Columbia University School of Law in 1987. He was admitted to the New
York Bar in 1988 and the California Bar in 1989. He was admitted to the Ninth Circuit
Court of Appeals in 1989, and was admitted to the United States District Court for the
Southern and Eastern Districts of New York in 1988. In 1989, he was admitted to the
Central, Eastern, Northern and Southern Districts of California. He has also practiced
extensively in courts around the country, in venues as diverse as Oregon, Arizona,
Nevada, Texas, Arkansas, Utah, Florida, New York, Delaware and Tennessee.


Mr. Neale is the author of:

•   “Bankruptcy and Contractual Relations in the Entertainment Industry – An
    Overview,” 1990 Entertainment, Publishing and the Arts Handbook
•   “A Survey of Recent Bankruptcy Decisions Impacting upon the Entertainment
    Industry,” 1992–1993 Entertainment, Publishing and the Arts Handbook
•   “SEC Actions and Stays,” National Law Journal, 2002
•   “The Scope and Application of 11 U.S.C. § 1145,” American Bankruptcy Institute
    Bankruptcy Battleground West, 2003
•   “Whose Life is it Anyway? Treatment of Unique Assets in Bankruptcy,” American
    Bankruptcy Institute Winter Leadership Conference, 2016

He was featured as a “Mover & Shaker” by The Deal magazine in 2006, and has
been interviewed several times by, among others, KNX news radio in Los Angeles,
Variety magazine, The Hollywood Reporter, and the California Real Estate Journal
on bankruptcy topics.


Mr. Neale has appeared as a speaker on the following topics before the
­following organizations:

•   “Making the Best Better: Lessons From the Battlefield,” Turnaround Management
    Association 6th Annual Spring Meeting, 1998

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DAVID L. NEALE                                                                     L NB Y& G
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•   “Litigation Issues in Bankruptcy,” Business Torts – An Introduction and Primer,
    Consumer Attorneys Association of Los Angeles, 1998
•   “There Must Be Fifty Ways to Leave Your Troubles,” Turnaround Management
    Association, 1998
•   “The Impact of State Court Decisions in Bankruptcy Court,” Beverly Hills Bar
    Association, 2001


Mr. Neale has appeared as a panelist, addressing issues relating to:

•   “Bankruptcy in the Dot-Com Economy” and “Licensing Agreements: How to Draft
    and Enforce Them” for Law.Com Seminars
•   “Public Company Debtors and the SEC,” American Bankruptcy Institute
    Bankruptcy Battleground West, 2003; “The 2005 Amendments to Bankruptcy
    Code Sections 546(c) and 547 – The Early Returns,” Financial Lawyers
    Conference, 2008
•   “Transfers of Intellectual Property,” Southwestern Law School, Bankruptcy in the
    New Millennium, 2010
•   “Practicing in the Limelight: Celebrity Bankruptcies,” American Bankruptcy
    Institute Winter Leadership Conference, 2016
•   “Shark Tank,” American Bankruptcy Institute Bankruptcy Battleground West, 2018


Mr. Neale has consistently been named by Los Angeles magazine as one of its 100
“Super Lawyers” in the bankruptcy field, and has been recognized by Chambers &
Partners as one of the top practitioners within the bankruptcy/restructuring field in
California.




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PROFESSIONAL RÉSUMÉ                                                              LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
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RON BENDER is a founding and co-managing partner of the firm. With a large and
diverse practice, Mr. Bender has successfully reorganized and sold numerous
companies and restructured the financial affairs of many individuals. Mr. Bender is
widely regarded as a highly creative, results oriented bankruptcy attorney who is able
to tackle complex problems and develop and implement creative solutions. Mr.
Bender has repeatedly been listed by “Super Lawyers” as one of the top 100 lawyers
in Southern California in regional surveys of his peers. Mr. Bender received his
undergraduate degree in Finance from the prestigious Wharton School of Business at
the University of Pennsylvania in 1986 where he graduated first in his class (B.S.,
summa cum laude), and then obtained his law degree from Stanford University Law
School in 1989. During law school, Mr. Bender served as a judicial extern for the
Honorable Lloyd King, U.S. Bankruptcy Court, Northern District of California
                                                                                                RON BENDER
Bankruptcy Court. Since graduating from law school, Mr. Bender has worked solely in
                                                                                                rb@lnbyg.com
the areas of bankruptcy, insolvency and business reorganization, and has developed
one of the largest bankruptcy, insolvency and restructuring practices in California,
including the representation of debtors, creditors’ committees, creditors, purchasers
of businesses, and assignees in the context of assignments for the benefit of credi-
tors. Mr. Bender’s incredibly broad and diverse Chapter 11 and insolvency debtor
experience includes the representation of hundreds of Chapter 11 debtors including
Zacky and Sons Poultry (a large grower, processor, packager and seller of chicken
and turkey related products that was sold for approximately $40 million); West Coast
Distribution (a premier technology driven supply chain management, logistics ware-
housing, fulfillment and 3PL distribution services provider for the apparel industry that
was sold); Tatung Company of America (a manufacturer and distributor of consumer
electronics with over $20 million assets that successfully reorganized); NAI Capital
(well-known commercial real estate brokerage firm that was successfully sold);
Ironclad Performance Wear (a leading, technology-focused developer and manufac-
turer of high-performance task-specific gloves and apparel for the “industrial athlete”
that was sold for $25.25 million); Rdio (a digital music service provider that was sold
to Pandora for $75 million); Country Villa (one of the largest owners and operators of
skilled nursing facilities with annual revenue of more than $200 million that was sold
for $62 million); Pebble ABC in a sale to Fitbit for $20 million; Jawbone ABC in a sale
of its Audio/Jambox line; Gamma Medica (a manufacturer of imaging systems in the
biotechnology field that was sold); Matterhorn Group (a large manufacturer of novelty


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RON BENDER                                                                          L NB Y& G
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ice cream products that was sold); Fat Burger (a well-known chain of hamburger
restaurants that were sold); Westcliff Medical Laboratories (an owner and operator
of 170 patient service center laboratories and labs throughout California with $95
million of annual revenue and 1,000 employees that was sold for $57.5 million);
LifeMasters Supported Selfcare (a national disease management company with
annual revenue of $80 million that was sold); Bodies in Motion (a chain of fitness
facilities that was sold for approximately $10 million); Max Equipment Rental (an
equipment rental company that successfully reorganized); Nelson & Associates (a
manufacturers’ representative in the electrical industry that successfully restructured
its debt); Douglas Furniture (a large furniture manufacturer); Padilla Construction (a
plastering company that successfully reorganized); Lamas Beauty (a manufacturer
of beauty supply products that was sold); Paramount Scaffolding (a large scaffolding
rental company that was sold); Alin Party Supply (a retail chain of party supplies that
successfully reorganized); Lake San Marcos Resort & Country Club; Krystal Air (an
aircraft leasing company that was sold); Pacific High Reach (a large construction
equipment rental company that was sold for $17 million); Krystal Koach (a large
manufacturer of limousines and shuttle buses that was sold); Small World Toys (a
toy company that was sold for approximately $16 million); Intervisual (a children’s
book company that was sold for approximately $10 million); LightPointe
Communications (a manufacturer of wireless networking equipment that successfully
reorganized); Nicola (a large olive importer and distributor that successfully reorga-
nized); Krispy Kreme (an owner and operator of Krispy Kreme Doughnut Stores that
successfully reorganized); Pleasant Care (an owner and operator of skilled nursing
facilities with annual revenue of approximately $200 million that was sold for approx-
imately $17 million); Aura Systems (a publicly-traded manufacturer of a mobile
power generator that successfully reorganized); Sega GameWorks (a retail enter-
tainment based company operating under the name of “GameWorks,” with $60
million of annual revenue, that was sold for approximately $8 million); Alliant
Protection Services (a commercial and residential alarm services company with
16,000 customers that was sold for $14.5 million); The Walking Company (a national
chain of 101 retail stores selling specialty shoes and footwear that successfully
reorganized involving $22 million of cash, debt and stock); Shoe Pavilion (a chain of
117 retail stores selling off-price footwear with locations in the Western and
Southwestern United States that was sold); Gadzoox Networks (a publicly-traded


continued. . .                                                                    pg 2 of 4




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RON BENDER                                                                         L NB Y& G
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company engaged in the business of providing networking infrastructure for storage
and data management, where one division was sold for $8.5 million and the balance
of the company successfully reorganized); State Line Hotel, State Line Casino, Jim’s
Enterprises (two hotels and casinos located in West Wendover, Nevada known as
the State Line Hotel and Casino and the Silver Smith Hotel and Casino that were
sold for $55 million); Management Action Programs (a management consulting firm
that successfully reorganized); Easyrider and Paisano Publications (publicly-traded
publishers of thirteen national magazines that were sold for $12.3 million); Clifford
Electronics (a manufacturer of automotive aftermarket and original equipment
manufacturer security systems and components, primarily for automobiles, with
annual sales of $40 million, that was sold for $20 million); Chorus Line Corporation
and California Fashions Industries (one of the largest apparel companies in the
country with annual sales of $500 million that engaged in a Chapter 11 liquidation);
Avus (a distributor of computer systems with sales of in excess of $100 million, that
was sold); A.J. Markets (chain of supermarkets sold for $5 million); Trancas Town
(owner of 35 acres of raw developable land in Malibu, California that successfully
reorganized); Association of Volleyball Professionals (professional beach volleyball
league sold in Chapter 11); Louise’s Trattoria (chain of 16 Italian food restaurants
with $30 million in annual revenue sold in Chapter 11 for $7 million); Westward Ho
Markets (a supermarket chain with $50 million of annual revenue and $20 million of
debt that was restructured through a confirmed Chapter 11 reorganization plan);
Special Effects Unlimited (one of the largest providers of special effects in the movie
industry that was restructured through a confirmed Chapter 11 reorganization plan);
Santa Barbara Aerospace (a heavy aircraft maintenance facility located at the former
Norton Air Force base in San Bernardino, California, that was restructured and sold);
Manchester Center (a 1.5 million square foot shopping center in Fresno, California
that was sold for $25 million); Marbella Golf and Country Club (a golf and country
club located in San Juan Capistrano that successfully reorganized); Southwest
Hospital (an acute care hospital located in Riverside that successfully reorganized);
Servall Packaging Industries (a contract packaging company that was sold); Polaris
Networks (a telecommunications networks and software company that successfully
reorganized); and Prestige Products (a distributor of aftermarket automobile acces-
sories that was sold). A sampling of Mr. Bender’s representation of creditors’ commit-
tees includes the representation of the creditors’ committee in the Chapter 11


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RON BENDER                                                                        L NB Y& G
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bankruptcy case of Trigem America (a wholly-owned subsidiary of one of the largest
computer manufacturers in the world located in Korea whose case is currently
pending) and Robinson Golf Holdings (the owner of a large golf resort development
project). Mr. Bender has also represented numerous real estate related debtors in
chapter 11 that have resulted in successful sales or reorganizations. Mr. Bender is
also one of California’s leading lawyers in the arena of assignments for the benefit of
creditors (ABC’s), having represented assignees and buyers in more than one
hundred assignments.




                                                                                pg 4 of 4




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PROFESSIONAL RÉSUMÉ                                                               LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
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TIMOTHY YOO, a partner of the firm, specializes in commercial litigation and bank-
ruptcy. Known throughout the region as a bankruptcy attorney who resolves difficult
issues with creativity and efficiency, he consistently earns the highest rating in peer
surveys, including being repeatedly listed as a “Super Lawyer.”


Mr. Yoo received his undergraduate degree in business from University of Southern
California with honors in 1987. He then obtained his law degree from Loyola Law
School with full merit scholarship in 1991. Mr. Yoo completed a one-year clerkship
with the Honorable Lisa Hill Fenning, United States Bankruptcy Judge for the Central
District of California. In March, 1998, he was appointed to the Panel of Chapter
7 Bankruptcy Trustees for the Central District of California. Besides serving as a
Chapter 7 Trustee, Mr. Yoo also serves in numerous cases as a Chapter 11 Trustee,
                                                                                                TIMOTHY J. YOO
Bankruptcy Ombudsman, Liquidating Trustee, and Chief Restructuring Officer.
                                                                                                tjy@lnbyg.com

Mr. Yoo’s wide range of experience includes Taeil Media (represented a multinational
Korean corporation in one of the largest Orange County fraud cases); Destination
Films (acted as Chapter 7 trustee to liquidate a large film library); Winston Tires (rep-
resented the Chapter 7 Trustee); Millennium-Pacific Icon Group (acted as Chapter
11 Trustee of one of the largest Korean American real estate developer); Daewoo
Motors (defended creditors in preference actions); Bodies in Motion (acted as the first
Consumer Privacy Ombudsman in the Central District of California to advise the court
on a sale of a chain of fitness facilities); Small World Toys (represented the creditors’
committee); Chorus Line Corporation and California Fashions Industries (acted as a
liquidating trustee for one of the largest apparel companies in the country); IT Wheels
(successfully defended a Chapter 7 Trustee in a Chapter 15 proceeding); Aoki Pacific
Corporation (as Chapter 7 Trustee, completed public works projects); Dick Cepek,
Inc. (acted as Chapter 7 Trustee to liquidate a chain of off-road vehicle parts stores);
and Phoenix MC, Inc. (acted as the Chief Restructuring Officer for a hybrid automo-
bile manufacturer).


Mr. Yoo has lectured as a panelist in programs sponsored by Lorman Education
Services, Office of the United Trustee and the National Asian Pacific American Bar
Association. He also frequently writes for the Korea Times and California Continuing
Education of the Bar.


                                                                                 pg 1 of 1




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Professional Resume

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Martin J. Brill
Professional Resume
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DAVID B. GOLUBCHIK, born Kiev, Ukraine, January 10, 1971; admitted to bar 1996,
California. Education: University of California, Los Angeles (B.A. 1992), Pepperdine
University School of Law (J.D., 1996). Vice Chairman, Moot Court Board; Vice
Magistrate, Phi Delta Phi International Legal Fraternity; American Jurisprudence
Award in Business Reorganization in Bankruptcy. In addition to the State Bar of
California, admitted to the U.S. District Court, Central, Southern, Eastern and
Northern Districts of California. Law Clerk to the Honorable Thomas B. Donovan,
United States Bankruptcy Court, Central District of California (1996–1997). Member,
American, California and Los Angeles Bar Associations, American Bankruptcy
Institute (Board of Advisors), Financial Lawyers Conference, Los Angeles Bankruptcy
Forum and Beverly Hills Bar Association (Executive Committee). Practice empha-
sizes bankruptcy, corporate insolvency and creditors’ rights. Language: Russian.
                                                                                                 DAVID B. GOLUBCHIK
                                                                                                 dbg@lnbyg.com
Articles written by David Golubchik include:

•   “Representing Closely Held Corporations in Bankruptcy: The Ethical Dilemma,”
    Commercial Lawyers’ Association Conference, November 1999
•   “Bankruptcy Law – A Debtor’s Press Release,” National Law Journal, May 29,
    2000
•   “Taking a Piece of the Action in Bankruptcy,” Bay Area Bankruptcy Forum
    Conference, June 6, 2000
•   “Bankruptcy Law – Unwinding Settlements,” National Law Journal, October 23,
    2000
•   “Bankruptcy Law – Involuntary Proceedings,” National Law Journal, February 2,
    2004
•   “The Rights Of A Lessee In A Lessor’s Bankruptcy: Section 365(h) Of The
    Bankruptcy Code,” Los Angeles County Bar Association, Real Estate Subsection,
    March 25, 2004
•   “Defending Nondischargeability Actions in Bankruptcy,” Public Counsel,
    2002–2004
•   “Outlooks and Strategies For Distressed Commercial Real Estate Loans,” Grubb
    and Ellis presentation, May 14, 2009
•   “Chapter 11 Focus: Small Business and Single Asset Real Estate Cases,” Los
    Angeles County Bar Association, Commercial Law and Bankruptcy Subsection,
    January 27, 2010

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EDUCATION
University of Maryland (B.A., 1971)
University of Maryland School of Law (J.D., with Honors, 1974)


BAR ADMISSIONS
Maryland, 1974, California, 1976
U.S. District Court, 1976
U.S. Court of Appeals for the Ninth Circuit, 1978
U.S. Supreme Court, 1980


GARY E. KLAUSNER joined LNBYG as a senior partner in May 2014, from a senior
shareholder position at Stutman, Treister & Glatt P.C. Mr. Klausner has exclusively
practiced in the field of corporate restructuring and bankruptcy since 1976.                   GARY E. KLAUSNER
                                                                                               GEK@LNBYG.COM
Mr. Klausner represents Chapter 11 debtors, secured and unsecured creditors,
creditors’ committees, trustees and receivers, licensors and franchisors, purchasers
of assets out of bankruptcy cases and parties involved in litigation and appeals in         Honors and Recognitions
connection with bankruptcy cases. He has handled cases involving a broad range of           Fellow, American College of
                                                                                            Bankruptcy, 2010
businesses and industries including manufacturing, retail, real estate development,
                                                                                            Century City Bar Association:
hospitality and restaurants, aerospace, entertainment, healthcare, financial institu-
                                                                                            Bankruptcy Lawyer of the Year, 2012
tions, and transportation.
                                                                                            Selected, Super Lawyers (Bankruptcy
                                                                                            & Creditor/Debtor Rights) 2004–12
Mr. Klausner also has expertise in Chapter 9 of the Bankruptcy Code, which is
                                                                                            Selected, Southern California’s Best
designed for the reorganization of municipalities. Mr. Klausner was the lead lawyer         Lawyers in America, 2011–12
in the Chapter 9 case of Valley Health System in which he successfully confirmed a
                                                                                            Publications/Press
Chapter 9 Plan of Adjustment.
                                                                                            “Section 1111(b) “’ Look Before You
                                                                                            Leap,” 2 Bankruptcy Study Group
Mr. Klausner’s significant engagements as debtor’s counsel include: Meruelo Maddux          Journal 15 (1986)
Properties, Inc. (Special Reorganization Counsel); Imperial Capital Bancorp, Inc.;          “Chapter 11 ‘The Bank of Last
Colorep, Inc., International Union of Operating Engineers, Local 501, Mr. Gasket            Resort,”’ The Business Lawyer,
                                                                                            November, 1989; Vol. 45, No. 1
Co.; Prism Entertainment Corporation; Packaging Corporation of America; Super
                                                                                            “The New Bankruptcy Rules,” 4
Shops, Inc.; Cannon Pictures; Maguire Thomas Partners, Fifth & Grand, Ltd.; ABC
                                                                                            Bankruptcy Study Group Journal 64
International Traders, Inc.; Maxicare and Watts Health Foundation, Inc., dba UHP            (1987).
Healthcare.



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GARY E. KLAUSNER                                                                 L NB Y& G
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Mr. Klausner has represented creditors’ committees in cases such as Rhythm &                Speaking Engagements
Hues, Inc., Nasty Gal, Inc., Consolidated Freightways, New Meatco, Westward Ho              Panelist, “Bank Holding Company
Markets, Naki Electronics, Prime Matrix, The Movie Group, American Restaurant               Bankruptcies,” ABI Battleground
                                                                                            West, 2012
Group (“Black Angus”), and Solidus Networks, Inc.
                                                                                            Panelist, “Municipal Bankruptcies,”
                                                                                            ABI Battleground West, 2011
Mr. Klausner has also represented principals involved in significant chapter 11 cases,
                                                                                            Panelist, “Municipal Bankruptcies,”
such as Relativity Media Inc., The Weinstein Company, EZ Lube; Rachel Ashwell               ABA Fall Meeting Business Law
Design, Inc. (“Shabby Chic”); and Comic Book Movies LLC.                                    Section, 2010

                                                                                            KEY REPRESENTATIONS
In addition to client matters, Mr. Klausner has been actively involved and has held
                                                                                            Debtor Representations
prominent positions in local and national professional organizations and bar asso-
                                                                                            Colorep, Inc.
ciations. Mr. Klausner is a member of the Board of Governors of the Financial
                                                                                            International Union of Operating
Lawyers Conference and served as its president from 1993 through 1994. He is a              Engineers, Local 501
board member of the Los Angeles Bankruptcy Forum (serving as its president in               St. Tropez Capital, Inc.
2003–2004), a member of the American Bar Association, Section on Business Law,              Mr. Gasket Co.
where he chaired a task force on The Economics of Chapter 11 Practice, chaired the
                                                                                            Prism Entertainment Corporation
Subcommittee on Bankruptcy Fraud, Crimes and Abuse of the Bankruptcy Process,
                                                                                            Packaging Corporation of America
and chaired the Chapter 9 and Chapter 11 Subcommittees. He is a member of the
                                                                                            Super Shops, Inc.
Los Angeles County Bar Association, where he has served as a member of the
                                                                                            Maguire Thomas Partners, Fifth &
Executive Committee of the Commercial Law and Bankruptcy Section as well as                 Grand, Ltd.
being Vice-Chair of the Section’s Bankruptcy Committee.                                     ABC International Traders, Inc.
                                                                                            Maxicare, HMO
In 2010, Mr. Klausner was elected as a Fellow of the American College of
                                                                                            Watts Health Foundation, Inc., dba
Bankruptcy, and in 2012, Mr. Klausner was recognized as “Bankruptcy Lawyer                  UHP Healthcare, HMO
of the Year” by the Century City Bar Association.                                           Valley Health System, Healthcare
                                                                                            District
Mr. Klausner has also served as a Lawyer Representative to The Ninth Circuit                Imperial Capital Bancorp, Inc.
Judicial Conference and chaired the United States District Court Standing Committee         Mereulo Maddux Properties, Inc
On Attorney Discipline.


Mr. Klausner speaks frequently on subjects involving bankruptcy and commercial law
and has published numerous articles on bankruptcy-related topics.




continued. . .                                                                  pg 2 of 3




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GARY E. KLAUSNER                                                                   L NB Y& G
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He is a member of the bar of the states of California and Maryland, and is admitted           KEY REPRESENTATIONS
to practice before the United States Supreme Court, the United States Courts of               Committee Representations
Appeals for the Ninth Circuit, and the United States District and Bankruptcy Courts           Rhythm & Hues
for the Central District of California.                                                       Nasty Gal
                                                                                              New Meatco
Mr. Klausner received his J.D., with honors, from the University of Maryland School of        Consolidated Freightway
Law in 1974, where he served on the editorial staff of the University of Maryland Law         Westward Ho Markets
Review from 1972–73. He received his B.A. from the University of Maryland in 1971.
                                                                                              Naki Electronics
                                                                                              Prime Matrix Stan Lee Media
PROFESSIONAL AFFILIATIONS
                                                                                              American Restaurant Group, Inc
Financial Lawyers Conference (President, 1993–1994; Member of the Board of
Governors)                                                                                    Significant Creditor/Party In
                                                                                              Interest Representations
Los Angeles Bankruptcy Forum (President in 2003–2004) Ninth Circuit Judicial
                                                                                              The Weinstein Company
Conference (2007–2009)
                                                                                              Relativity Media
United States District Court, Central District, Standing Committee on Attorney
                                                                                              Cannon Pictures, Inc.
Discipline, Chair 2011–2013
                                                                                              Georgia Pacific Corporation
American Bar Association Section on Business Law, Chair of the Subcommittee
                                                                                              Cal Worthington
on Bankruptcy Crimes, Fraud and Abuse, 2005
                                                                                              Columbia Tristar
Chair of the Subcommittee on Chapter 9, 2011–2016; Chair of Chapter 11
Subcommittee, 2017–2020                                                                       Fox Family Worldwide
                                                                                              MCI Telecommunications Corporation
HONORS AND RECOGNITIONS                                                                       Paramount Pictures

Fellow of the American College of Bankruptcy Century City Bankruptcy Lawyer of                Saban Entertainment
the Year, 2010                                                                                Sony Pictures, Inc.

Selected, Super Lawyers (Bankruptcy & Creditor/Debtor Rights) 2004–16 Selected,               The Walt Disney Company
Southern California’s Best Lawyers in America, 2011–12                                        Victor Valley Community Hospital
                                                                                              Rachel Ashwell Design, Inc
                                                                                              EZ Lube, Inc
                                                                                              Gardens Regional Hospital




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EDWARD M. WOLKOWITZ has focused on the areas of insolvency and commercial
law during more than 40 years of practice. He has represented debtors, creditors,
trustees, receivers and creditors’ committees in a wide variety of cases. He also
serves as a chapter 11 and chapter 7 panel trustee in the Central District of California
and as a receiver for the Los Angeles Superior Court. He has extensive experience
in representing various interests in complex reorganization cases in a number of
different and diverse industries and has also operated a number of businesses as a
trustee and receiver. He is also AV rated by Martindale-Hubbell.


He has been involved in a number of cases that have made new law or clarified
existing law in the Ninth Circuit, including: Wolkowitz v. FDIC, 527 F. 3d 959 (9th
Cir. 2008); Wolkowitz v. Beverly, 551 F. 3d 1092 (9th Cir. 2008); In re Sylmar
                                                                                                 EDWARD M.
Plaza, LP, 314 F.3d 1070 (9th Cir. 2002); Wolkowitz v. American Research
                                                                                                 WOLKOWITZ
Corporation, 131 F.3d 788 (9th Cir. 1999); In re Moses, 167 F.3d 470 (9th Cir. 1
                                                                                                 emw@lnbyg.com
999); Wolkowitz v. Shearson Lehman Bros., 136 F.3d 655, cert. denied, 525 U.S.
826 (1998); In re Cheng, 943 F.2d 1114 (9th Cir. 1991); In re Qintex Entertainment,
950 F.2d 1492 (9th Cir. 1991); In re WLB_RSK Venture, 296 B.R. 509 (Bankr. C.D.
Cal. 2003).


Mr. Wolkowitz was on the faculty of Southwestern University Law School from 1978
to 1994, rejoining the faculty in 2001, teaching courses in bankruptcy, commercial
transactions and business reorganization. He has also lectured extensively for the
California Continuing Education of the Bar, and as a panelist in programs sponsored
by the American Bankruptcy Institute, the Los Angeles Bankruptcy Forum, and the
Beverly Hills Bar Association. Between 1994 and 2002, he served as a member of
the City Council of Culver City, California, including two one-year terms as Mayor of
Culver City.


Mr. Wolkowitz was admitted to the California Bar in 1976. His educational
background is as follows: California State University, Northridge (B.A., 1971);
Southwestern University Law School (J.D., cum laude, 1975); The University of
Michigan Law School (LL.M., 1976).




continued. . .                                                                    pg 1 of 2




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EDWARD M. WOLKOWITZ                                                            L NB Y& G
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His publications include:

•   “Debtors Have New Weapons Against Involuntary Bankruptcy,” Journal of
    Corporate Renewal 12 (December 2007)
•   “Bankruptcy and Family Law: A Marriage of Irreconcilable Differences”, 24 B.H.
    Bar J. 83 (1990)
•   “Insolvency and Bankruptcy,” (Chapter 7) California Family Law Service,
    Bancroft-Whitney (1986)
•   “Legislative Analysis—Land Use Proposals,” 8 Southwestern University Law
    Review 216 (1976)
•   “Land Use Controls: Is there a Place For Everything,” 6 Sw.U.L.Rev. 607 (1974)


He is a member of the State Bar of California, the American Bar Association, Los
Angeles County Bar Association, the Los Angeles Bankruptcy Forum, the Financial
Lawyers Conference and the National Association of Bankruptcy Trustees. He has
served as President and Vice President of the Los Angeles Bankruptcy Forum; the
Editorial Board of the California Bankruptcy Journal; and, the Executive Committee
of the Board of Governors of the Financial Lawyers Conference.




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BETH ANN R. YOUNG, born Santa Monica, California, June 30, 1964; Admitted to
California State Bar, December, 1989; Admitted to the United States District Court,
Central, Eastern, Northern and Southern Districts of California and the United States
Court of Appeals for the Ninth Circuit.


Education: University of California at Los Angeles (B.A., 1986); Loyola Law School
(J.D., 1989).


Member: California Bar Association, American Bar Association, Los Angeles County
Bar Association, Century City Bar Association, Financial Lawyers’ Conference and
Los Angeles Bankruptcy Forum.


Bankruptcy Court Panel Mediator: United States Bankruptcy Court, Central District              BETH ANN R. YOUNG
of California, January 2014 through the present; Certificated Completion of Mediation          bry@lnbyg.com
Training Program: Straus Institute for Dispute Resolution, Pepperdine School of Law,
January 2014.


Reported Decisions: San Paolo U.S. Holding Company v. 816 South Figueroa
Company (1998) 62 Cal. App. 4th 1010, 1026; and Ziello v. First Federal Bank (1995)
36 Cal. App. 4th 321, 42 Cal. Rptr. 2d 251.




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MONICA YOUNG KIM was admitted to the California Bar in 1995, after graduating
from the University of California at Berkeley (B.A., 1991) and Hastings College of the
Law (J.D., 1995). She was a Law Clerk to the Honorable Jane Dickson McKeag, U.S.
Bankruptcy Judge, Eastern District of California, 1995–96. Ms. Kim has worked solely
in the areas of bankruptcy, insolvency and business reorganization, and commercial
and real estate transactions, representing debtors, creditors’ committees, creditors,
sellers, and purchasers. She joined Levene, Neale, Bender, Yoo & Golubchik L.L.P. in
1996, and became a partner in 2004.


Ms. Kim is also involved in out-of-court restructuring transactions, including assign-
ments for creditors, representing sellers/assignors, assignees and buyers. Her
experience has included representation in retail, healthcare, entertainment, manu-
                                                                                               MONICA Y. KIM
facturing, real estate, service and technology. Ms. Kim is a member of the American
                                                                                               myk@lnbyg.com
Bar Association, Los Angeles County Bar Association, Century City Bar Association,
Women Lawyers Association of Los Angeles, and the Korean American Bar
Association, and is admitted to the Central, Eastern, Northern and Southern Districts
of California.




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PHILIP A. GASTEIER’S more than 40 years of practice has included a broad range
of bankruptcy and insolvency representation, including Chapter 11 debtors, trustees
in Chapter 7 and Chapter 11 cases, creditors, committees, buyers, landlords and
parties to executory contracts, with particular emphasis on complex reorganizations
and structuring transactions.


In his first decade of practice in Philadelphia, Mr. Gasteier successfully represented
landlords and purchasers of leasehold interests in large cases such as Food Fair
and Lionel, and participated in preparation of materials for presentation to Congress
in connection with hearings leading to the Shopping Center Amendments to the
Bankruptcy Code in 1984. He counseled extensively in connection with insolvency
and bankruptcy aspects of commercial leases for shopping centers and retail chains,
                                                                                                 PHILIP A. GASTEIER
and authored “Shopping Centers As Utilities Under the Bankruptcy Code,” Shopping
                                                                                                 pag@lnbyg.com
Center Legal Update, Summer, 1983. Mr. Gasteier also provided insolvency coun-
seling in connection with bond and other securities transactions. Mr. Gasteier was
involved in representation of creditor or equity committees in matters including
Franklin Computer, Manson-Billard Industries and Monroe Well Service, Inc. Debtor
representation included Motor Freight Express, a multi-state motor carrier, and Dublin
Properties.


Mr. Gasteier’s practice in Los Angeles has included entertainment and other intellec-
tual property matters, such as Fries Entertainment, Inc., Qintex Entertainment, Inc.,
and Hal Roach Studios, Inc. where he was primarily responsible for structuring and
confirming chapter 11 plans, as well as representation of Carolco Pictures, Inc. and
Paramount Studios. He has provided specialized insolvency counseling and litigation
support in connection with numerous transactions, licenses and other entertainment
contracts. Mr. Gasteier argued In re: Qintex Entertainment, Inc., 950 F.2d 1492 (9th
Cir. 1991) to the Ninth Circuit U.S. Court of Appeals, a principal case establishing
the executory contract analysis applicable to copyright licenses, and determining
that participation rights constitute unsecured claims. Other debtor representation
has included Currie Technologies Inc.; Wavien, Inc; Ocean Trails L.P.; Superior Fast
Freight, Inc.; and B.U.M. International, Inc. Mr. Gasteier has been involved in cred-
itor committee representation in cases such as House of Fabrics, California Pacific
Funding, Ltd., Condor Systems, Inc. and Chase Technologies, Inc.


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PHILIP A. GASTEIER                                                                 L NB Y& G
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Mr. Gasteier is a graduate of the Law School of the University of Pennsylvania
(J.D. 1977) and the Ohio State University (B.A. 1974). He was admitted to the
Pennsylvania Bar in 1977 and to the California Bar in 1987. He is also a member of
the bar of the United States District Court, Central, Eastern and Northern Districts
of California; the U.S. District Court, Eastern District Court of Pennsylvania, and
the Ninth and Third Circuit Courts of Appeals. He is a member of the American
Bankruptcy Institute, the American Bar Association, the State Bar of California,
the Century City Bar Association, the Financial Lawyers Conference and the Los
Angeles County Bar Association, where he served as a member of the Bankruptcy
Sub-Committee of the Section on Commercial Law and Bankruptcy from (1990–
1992). He has been active in civic affairs, and is a past President (2008–2009), Vice
President (2006–2008) and Board Member (2004–2009) of the Greater Griffith Park
Neighborhood Council, an official body of the City of Los Angeles.




                                                                                pg 2 of 2




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DANIEL H. REISS, a partner at Levene, Neale, Bender, Yoo & Golubchik L.L.P.
(“LNBYG”), has specialized in the area of bankruptcy and insolvency for over thirty
years. Before entering the legal field, Mr. Reiss started his professional career at
KPMG (then Peat, Marwick and Mitchell) and became a Certified Public Accountant
specializing in tax structuring in mid-market and entrepreneurial businesses. Mr.
Reiss graduated from California State University, Northridge, summa cum laude,
B.S., Business Administration in 1984. Mr. Reiss’s business education and back-
ground is of significant importance in dealing with the complex financial issues facing
distressed business situations.


Armed with practical business knowledge, Mr. Reiss decided to pursue a career in
law and graduated in 1990 from Loyola University Law School where he was a staff
                                                                                                     DANIEL H. REISS
writer and notes editor of the Law Review, president of Phi Delta Phi legal honor
                                                                                                     dhr@lnbyg.com
fraternity, and was a member of the St. Thomas More Honor Society.


Mr. Reiss joined LNBYG in November 2000. Mr. Reiss is a member of the executive
committee of the Bankruptcy Section of the Beverly Hills Bar Association, and is a
member of the Los Angeles Bankruptcy Forum, Financial Lawyers Conference and
the Los Angeles County Bar Association. Mr. Reiss has been honored as a “Super
Lawyer” multiple times since 2006 in a region-wide survey, an honor bestowed on
only 5% of Southern California attorneys.


Mr. Reiss’s bankruptcy experience extends to cases and distressed situations involv-
ing public utilities, healthcare, retail, aviation, hospitality, real estate, bio-tech and
general manufacturing. Mr. Reiss regularly represents debtors, creditor committees,
secured creditors, bankruptcy trustees and buyers of distressed assets and compa-
nies. Mr. Reiss is a frequent speaker before trade and legal groups, and is a nation-
ally published author on bankruptcy issues.


Mr. Reiss is also an experienced bankruptcy litigator, having been lead counsel in
more than 100 adversary proceedings in bankruptcy court. When not representing
the bankruptcy entity or a trustee, Mr. Reiss has successfully petitioned the Court to
confer standing on his clients to file litigation on behalf of the estate. Mr. Reiss also
has expertise in removing state court litigation to the bankruptcy court and dealing



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DANIEL H. REISS                                                                      L NB Y& G
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with complex jurisdictional issues. Litigation targets commonly include company
directors, officers and other insiders, recipients of avoidable asset transfers, or credi-
tors holding invalid liens or claims.


Mr. Reiss’s published articles include:

•   “Bankruptcy Battlegrounds in Franchising,” Franchise Law Insider, 3rd Quarter
    2005
•   “Assignment of Leases,” National Law Journal, Winter 2006
•   “’Travelers Cas.’ Part II,” National Law Journal, Winter 2007.
•   “Single-Asset Real Estate,” National Law Journal, Summer 2008.
•   “D&O Moves to the Forefront in Bankruptcy Cases,” National Law Journal,
    Summer 2009.
•   “Protecting Interests in the Event of Tenant Bankruptcies,” National Law Journal,
    Spring 2010.
•   “When Cases In Two Bankruptcy Courts Clash,” National Law Journal,
•   Fall 2010
•   “Marshall Case Raises Issue Of Consent To Jurisdiction” National Law Journal,
    Summer 2011
•   “Bidders At Bankruptcy Auctions, Beware,” National Law Journal, Summer 2012
•   “What’s a Class Action Plaintiff To Do?” National Law Journal, Summer 2013


Mr. Reiss’s speaking engagements include:

•   “Franchise Issues in Bankruptcy,” Spring, 2004, Franchise Business Network.
•   “Hostile Takeovers in Bankruptcy Cases,” Credit Managers Association.
•   “Directors and Officers Litigation in Bankruptcy,” Spring, 2008, Turnaround
    Management Association and Beverly Hills Bar Association.
•   “Healthcare Business Bankruptcies,” Spring 2009, Los Angeles County Bar
    Association, Healthcare Law and Commercial Law And Bankruptcy Sections
•   “Bankruptcy Battlegrounds in Franchising,” Fall, 2009, Southern California
    Franchise Business Network.
•   “Class-Action Claims Against Bankrupt Defendants An Overview,” Summer 2013,
    State Bar of California, San Francisco, California



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DANIEL H. REISS                                                                L NB Y& G
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•   “TIC TALK - Issues in Tenant in Common Bankruptcy Cases and Related
    Considerations,” Spring 2015, Beverly Hills Bar Association – Bankruptcy Law
    and Real Estate Law Sections
•   Panelist, Wage and Hour and Other Employment Issues Facing Troubled
    Companies, AIRA 34th Annual Conference, Nashville, Tenn. 2018.




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TODD A. FREALY, a partner of the firm, represents Chapter 7 trustees throughout
Southern California in all aspects of case administration and litigation. In July 2010,
Mr. Frealy was appointed to the panel of Chapter 7 trustees for the Riverside Division
of the United States Bankruptcy Court. Mr. Frealy currently serves as a Chapter 11
trustee and Chapter 7 trustee in cases pending in the Central District of California.
Mr. Frealy is a graduate of Southwestern University School of Law (J.D. 1998) and
the University of California, Los Angeles (B.A. 1995). During law school he was an
extern to the Honorable Mitchel R. Goldberg and Honorable Arthur M. Greenwald,
U.S. Bankruptcy Judges for the Central District of California. After law school, he
clerked for the Honorable David N. Naugle, U.S. Bankruptcy Judge, Central District
of California, Riverside Division (1998–2000). Mr. Frealy was a member of the Board
of Directors for the Inland Empire Bankruptcy Forum from 2009–2014 and was a
                                                                                                TODD A. FREALY
member of the Southwestern University School of Law Alumni Board of Directors
                                                                                                taf@lnbyg.com
(September 2006 to June 2009). He is also a member of the Los Angeles County
Bar Association and the Los Angeles Bankruptcy Forum. In 2021, Mr. Frealy was
recognized as a “Super Lawyer” by Super Lawyers magazine. He was admitted to
the California Bar in 1998, and is admitted to the Central, Eastern, Northern and
Southern Districts of California.


Articles written by Mr. Frealy include:

•   “Dazed and Confused,” California Bankruptcy Court Reporter, Vol. 4, No. 3, March
    2000 (Dischargeability of student loans and the “undue hardship test”)
•   “Finding the Key,” California Bankruptcy Court Reporter, Vol. 4, No. 6, June 2000
    (How to Set off Mutual Debts in Bankruptcy)


Mr. Frealy is a frequent speaker on bankruptcy issues, including:

•   Southwestern Law Review’s symposium: “Bankruptcy in the New Millennium,”
    February 2010
•   Inland Empire Bankruptcy Forum: “Disclosed and Undisclosed Assets In
    Chapter 7,” April 2014
•   Inland Empire Bankruptcy Forum: “Hot Topics In Consumer Chapter 7
    Proceedings,” November 2014
•   Inland Empire Bankruptcy Forum: “An Evening With The Trustees,” April 2015



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TODD A. FREALY                                                                  L NB Y& G
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•   Riverside County Bar Association: “What Every Non-Bankruptcy Lawyer Should
    Know About Bankruptcy (And Should Be Afraid Not To Ask),” December 2015
•   Inland Empire Bankruptcy Forum: “An Evening With The Trustees,” March 2016




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RICKY STEELMAN is a senior litigator at Levene, Neale, Bender, Yoo & Golubchik
L.L.P. Mr. Steelman’s client-centered and resolution-driven practice focuses on
complex commercial disputes, including litigation connected to bankruptcy, restructur-
ing and insolvency. His extensive business litigation experience includes successful
representation of individuals, Fortune 500 companies, hospitals, and emergency
physician groups in state and federal courts, private arbitrations, and more than 75
appeals in the various appellate districts of the California Courts of Appeal, as well as
the United States Court of Appeals for the Ninth Circuit.


Not only an experienced appellate attorney and litigator, Mr. Steelman also has
substantial bankruptcy experience in numerous bankruptcy matters and adversary
proceedings. Specifically, he played a critical role in obtaining summary judgment
                                                                                                 RICHARD P.
(resulting in a published decision in favor of a Fortune 100 financial institution) where
                                                                                                 STEELMAN, JR.
the bankruptcy court granted his plaintiff client’s request for substantive consolida-
                                                                                                 rps@lnbyg.com
tion. That judgment forced seven non-debtor entities and three non-debtor individ-
uals involved in a multi-million dollar mortgage-relief fraud scheme into the primary
­debtor-entity’s Chapter 7 bankruptcy and under the purview of the bankruptcy court.
This resulted in better protections for vulnerable consumers and members of the
community, as well as financial institutions and corporations.


In addition to his significant class action defense work in federal court, Mr. Steelman
has appeared numerous times in California probate court. He first chaired a probate
trial where he successfully challenged the executor’s final accounting of a probate
estate and the executor’s request for extraordinary fees in connection with that
estate. That probate decision after a multiple-day trial resulted in greater financial
distributions to Mr. Steelman’s client, as well as several other non-profit organizations
across the country.


Mr. Steelman is very proud to be a two-time Cooke Scholar after being selected for
the 2002 Jack Kent Cooke Foundation Undergraduate Scholarship and the 2006
Jack Kent Cooke Foundation Graduate Scholarship – a rare and coveted accom-
plishment in today’s competitive world. He is also honored to have been named a
Southern California Super Lawyers “Rising Star” each year since 2013.




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RICHARD P. STEELMAN, JR.                                                         L NB Y& G
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Prior to joining the firm, Mr. Steelman worked more than 8.5 years at Bryan Cave
Leighton Paisner LLP as a litigation, appellate, and class action associate. He also
worked at Buchalter as special counsel, focusing on complex healthcare litigation
relating to provider-payor disputes. Mr. Steelman graduated magna cum laude from
Pepperdine University with a B.A. in Political Science and a Music Minor in 2003.
He graduated cum laude from Pepperdine University School of Law in 2009. Mr.
Steelman is licensed in all California state and federal courts and the U.S. Court of
Appeals for the Ninth Circuit. He is a member of the California Society for Health-
care Attorneys, the American Health Lawyers Association, the Los Angeles County
Bar Association and its Appellate Courts, Litigation, and Healthcare Law sections.




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JULIET Y. OH is a partner at Levene, Neale, Bender, Yoo & Golubchik L.L.P. rep-
resenting individuals and corporations in Chapter 11 bankruptcy cases, out-of-court
restructuring proceedings and bankruptcy litigation proceedings. She has been voted
a “Rising Star” in a poll of her peers in Southern California each year since 2006.


Ms. Oh has recently represented Chapter 11 debtors Anna’s Linens, Inc., Green Fleet
Systems, LLC, Belasco Unlimited Corporation, Apex Digital, Inc., Roosevelt Lofts,
LLC, Central Metal, Inc., Franchise Pictures LLC, et al., Fatburger Restaurants, and
the Official Committee of Unsecured Creditors of Halcyon Holding Group.


Prior to joining the firm in 2003, Ms. Oh specialized in the representation of individ-
uals in Chapter 7 and Chapter 13 cases and worked as an extern with the Office
of the U.S. Trustee, Central District of California. Ms. Oh is a graduate of Stanford           JULIET Y. OH
University and obtained her law degree from University of California, Los Angeles.              jyo@lnbyg.com

She was admitted to the California Bar in 2000, is a member of the Korean American
Bar Association, California Bankruptcy Forum and Los Angeles Bankruptcy Forum.




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TODD M. ARNOLD has been with LNBY&G since 2003. Mr. Arnold specializes in
corporate and high net worth individual reorganizations and bankruptcy litigation. Mr.
Arnold has served as counsel in several major reorganization cases and in hundreds
of avoidance actions. Mr. Arnold joined LNBYG after serving as an extern and a law
clerk to the Honorable Thomas B. Donovan, United States Bankruptcy Judge. He
has been voted a “Rising Star” in a poll of his peers in Southern California each year
since 2006. A native of Sacramento, Mr. Arnold graduated from the University of
California, Los Angeles with a B.A. in English and Loyola Law School, Los Angeles,
cum laude, with a Juris Doctor degree and as a member of the Order of the Coif.




                                                                                              TODD M. ARNOLD
                                                                                              tma@lnbyg.com




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ANTHONY A. FRIEDMAN specializes in the representation of debtors in reorgani-
zations and liquidations, Chapter 7 and Chapter 11 Trustees, bankruptcy litigation,
State Court litigation, and creditors’ committees. Mr. Friedman is admitted to prac-
tice before all the Courts of the State of California, the United States District Court,
Central, Eastern, Northern and Southern Districts, the Ninth Circuit Court of Appeals
and the United States Supreme Court. Mr. Friedman received his Juris Doctor degree
from the University of La Verne School of Law in 1999 and his Bachelor of Arts
degree from the University of California at San Diego in 1992. Prior to joining Levene,
Neale, Bender, Yoo & Golubchik L.L.P., Mr. Friedman was a judicial extern for the
Honorable Kathleen Thompson, United States Bankruptcy Judge, Central District
of California. Mr. Friedman is also a member of the American Bankruptcy Institute,
the Los Angeles County Bar Association, the Los Angeles Bankruptcy Forum, the
                                                                                                 ANTHONY A. FRIEDMAN
California Bankruptcy Forum, the Financial Lawyer’s Conference, the James T. King
                                                                                                 aaf@lnbyg.com
Bankruptcy Inn of Court (current Board member and past president 2017–2018), and
several Southern California Bar Associations. Mr. Friedman is also a volunteer in the
Public Counsel Law Center Bankruptcy pro bono project.




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                                        ANTHONY A. FRIEDMAN ATTORNEY AT LAW         2818 LA CIENEGA AVENUE, LOS ANGELES, CA 90034
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KURT RAMLO, a Los Angeles native, provides restructuring advice to business orga-
nizations facing financial distress. His practice includes guiding organizations through
out-of-court and chapter 11 reorganizations, as well as related transactions and litiga-
tion. He routinely provides advice on structuring cutting-edge transactions on behalf
of public and private debtors, foreign representatives, receivers, shareholders, plan
sponsors, third-party acquirers, secured and unsecured creditors, creditors’ commit-
tees and post-petition lenders, as well as other restructuring professionals. A former
Assistant United States Attorney, Mr. Ramlo also has extensive trial and commercial
litigation experience in bankruptcy and federal district courts.


His representative chapter 11 matters include advising the debtors in NexPrise,
Inc.; Hingham Campus; Minor Family Hotels; Delphi Corporation; Refco; Blue
                                                                                                KURT RAMLO
Bird Body Company (prepackaged plan); Friedman’s Jewelers; First Virtual
                                                                                                kr@lnbyg.com
Communications; Kmart Corporation; ZiLOG, Inc. (prepackaged plan); Stone &
Webster; Wilshire Center Marketplace (Ambassador Hotel); Washington Group; and
Furr’s Supermarkets; the foreign representatives in Flightlease Holdings and SunCal;
the receiver in private equity management group; equity stockholders or plan spon-
sors in Charter Communications; Crescent Jewelers; Oregon Arena Corporation; Old
UGC; and Clift Holdings (The Clift Hotel); asset purchasers and bidders in Medical
Capital Holdings; Variety Arts Theatre; Chef Solutions Holdings; People’s Choice
Financial Corporation; Sun World; The Walking Company; Centis; and iSyndicate;
estate professionals in General Growth Properties and Leap Wireless; and cred-
itors in Cocopah Nurseries; One Pelican Hill North, L.P.; McMonigle Residential
Group; Contessa Premium Foods; LBREP/L-Lehman SunCal Master I, LLC; Phoenix
Coyotes; GTS 900 F (Concerto); Cupertino Square; American Home Mortgage;
Trump Casinos; Consolidated Freightways; Loral Space & Communications; Leap
Wireless; DirecTV Latin American; Northwestern Corporation; Airwalk; Centis; Regal
Cinemas; eToys; Excite/At Home Corporation; Paracelsus Healthcare; and the credi-
tors’ committee in Hamakua Sugar Company.


Litigation matters include CanAm Capital Holdings (Ponzi scheme fraudulent trans-
fer action); Lyondell Chemical (New York LBO fraudulent transfer action); Linens N
Things (preference); patent holder (obtaining stay pending appeal of $112 million
judgment); S&W Bach (New York fraudulent transfer action); One Pelican Hill North


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(California lender liability); Lost Lakes (Washington lender liability); satellite dish
provider (piracy and dischargeability); Prium (lender liability); Spansion, Inc. (transfer
pricing dispute); Delphi (Michigan state tax litigation; vendor litigation); Refco (Swiss
securities litigation); Old UGC ($3.7 billion breach of merger action); Airwalk (debt
recharacterization trial); various actions representing the United States (Medicare
fraud and dischargeability; surety bond enforcement; loan and guaranty enforce-
ment; wrongful foreclosure litigation; enforcement of criminal fines and restitution
orders).


Published decisions issued in matters litigated by Mr. Ramlo include United States
Pac. Ins. Co. v. United States Dep’t of Interior, 70 F. Supp. 2d 1089 (C.D. Cal. 1999);
Secretary of HUD v. Sky Meadow Assoc., 117 F. Supp. 2d 970 (C.D. Cal. 2000);
Yunis v. United States, 118 F. Supp. 2d 1024 (C.D. Cal. 2000); and United States
Dep’t of Educ. v. Wallace (In re Wallace), 259 B.R. 170 (C.D. Cal. 2000).


He is a co-author of “American Bankruptcy Reform and Creativity Prompt the
In re Blue Bird Body Company One-Day Prepackaged Plan of Reorganization,”
International Corporate Rescue, Kluwer Law International (London) (December
2006), included in Expedited Debt Restructuring: An International Comparative
Analysis, Rodrigo Olivares-Caminal ed., Kluwer Law International (The Netherlands)
(2007).


In 1993, Mr. Ramlo obtained his law degree from the University of California, Davis
and in 1990 a Bachelor of Music degree, with a concentration on music performance
on bassoon, from California State University, Northridge.




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EVE H. KARASIK is a business restructuring and bankruptcy attorney who focuses
her practice on the representation of business entities in a variety of industries. In
addition to representing corporate debtors, Ms. Karasik has represented creditors’
committees, equity committees, post-confirmation liquidating trusts and Bankruptcy
Code section 524(g) trusts, assignees and assignors for assignments for the benefit
of creditors, receivers and creditors in state and federal receiverships, and significant
creditors and litigation parties in cases pending around the country. She began her
legal career at Stutman, Treister & Glatt P.C., a nationally recognized bankruptcy
boutique where she practiced until May 1, 2014 when the firm had to close its doors.


Ms. Karasik has a breadth of experience representing entities in wide variety of
industries,. Some of her debtor representations of note include: Valley Economic
                                                                                                 EVE H. KARASIK
Development Corporation (Los Angeles, CA, Loan Origination and Servicing),
                                                                                                 ehk@lnbyg.com
Marshall Broadcasting, Inc. (Houston, TX, Media), Cornerstone Apparel, Inc. (Los
Angeles, CA, Retail), Anna’s Linens, Inc. (Los Angeles, CA, Retail), Associated
Third Party Administrators and Allied Fund Administrators LLC (Los Angeles, CA,
Benefits Administration), Imperial Capital Bancorp, Inc. (San Diego, CA, Bank
Holding Company), Utah 7000, LLC, et al (Salt Lake City, UT, Luxury Real Estate
Development), Resort at Summerlin, et al (Las Vegas Nevada, Gaming); Gold River
Hotel & Casino, et al (Las Vegas, Nevada, Gaming), Falcon Products, Inc., et al
(St. Louis, MO, Furniture Manufacturer), Clark Retail Group, et al (Chicago, IL, Gas
Station and Convenience Stores), MJ Research, Inc. (Reno, NV, Bio Tech), Cell
Pro, (Seattle, Washington, Bio Tech); and U.S. Aggregates, Inc., et al (Reno, NV,
Mining). Her creditor and equity committee representations include PHI, Inc. (Dallas,
TX, Oil and Gas Logistics), New Meatco Provisions, LLC (Los Angeles, CA, Food
Distribution), Circus and Eldorado Joint Venture, et al. (Reno, NV, Gaming), Riviera
Holdings Corporation, et al. (Las Vegas, NV. Gaming), Eurofresh, Inc., et al (Phoenix,
AZ, Food Producer and Distributor), USA Capital First Trust Deed Fund (Las Vegas,
NV, Real Estate Investment Fund), Aladdin Gaming, Inc. (Las Vegas, NV, Gaming),
and Amerco (Reno, NV, Retail/Trucking).


Ms. Karasik has also served as counsel to the Trustee in the Securities Investor
Protection Corporation liquidation proceeding of W.S. Clearing, Inc. (Los Angeles,
CA, Securities Clearinghouse), counsel to the Examiner in the Fontainebleau Las
Vegas Holdings, LLC., et al. (Miami, FL, Gaming), and counsel to the J.T. Thorpe

continued. . .                                                                    pg 1 of 4




                                              EVE H. KARASIK ATTORNEY AT LAW        2818 LA CIENEGA AVENUE, LOS ANGELES, CA 90034
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Settlement Trust, the Thorpe Insulation Company Settlement Trust, Plant Insulation
Settlement Trust, and the Western Asbestos Settlement Trust (Reno, NV, Section
524(g) Bankruptcy Trusts).


Ms. Karasik is a fellow in the American College of Bankruptcy. She has been ranked
in Chambers USA, Band 3, Bankruptcy and Restructuring, California 2020. Ms.
Karasik has received several awards in her field, including the Century City Bar
Association Bankruptcy Attorney of the Year for 2015, and the Turnaround Managers
Association “2007 Large Company Transaction of the Year” award for her work on
the U.S.A. Commercial Mortgage Company Chapter 11 Cases. She is also been
named a Southern California States Super Lawyers®, 2012–2020 for Bankruptcy &
Creditor/Debtor Rights; Best Lawyers in America®, Bankruptcy and Creditor-Debtor
Rights Law, 2007– 2020; and AV/Preeminent Attorney® as rated by Martindale-
Hubbell®, 5.0 out of 5.0.


Ms. Karasik has appeared as a speaker on the following topics before the
­following organizations:
•   American Bankruptcy Institute, Annual Spring Meeting, 2019, The Continuing
    Vitality of the Jay Alix Protocol, and other Issues Related to the Retention of
    Distressed Management Consultant
•   American Bankruptcy Institute, Bankruptcy Battleground West, 2019, Crossfire
    Panel: Jevic Debate
•   American Bankruptcy Institute, Annual Spring Meeting, 2018, Life After Jevic:
    How Will the Supreme Court’s Decision Affect Chapter 11 Practice
•   California Bankruptcy Forum 2016, Mo Fees Mo Objections – Notoriously B.I.G.
    Problems for Professionals Seeking to be Employed and Paid
•   American Bankruptcy Institute, Winter Leadership Conference 2015, Perfecting
    the Pitch
•   Turnaround Managers Association, 7th Annual Western Regional Conference
    July 16, 2015: “Successor Liability & Section 363 Sales: Everything You Always
    Wanted to Know, But Were Afraid Someone Would Tell You”
•   American Bankruptcy Institute, Spring Meeting 2015: “Trustee Selection in
    Commercial Bankruptcy Cases: Who Wins the Battle to Control the Estate?”
•   Los Angeles Bankruptcy Forum: “LLCs in Bankruptcy: Tricks and Traps (or Points
    of Leverage and Lurking Dangers),” April 20, 2015


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•   American Bankruptcy Institute, Spring Meeting 2014: “The Ever-Changing Roles
    of Committees”
•   American Bankruptcy Institute, Webinar July 15, 2013: “The Section 1111(b)
    Election, Plan Feasibility and Cramdown Issues”
•   American Bankruptcy Institute, Spring Meeting 2013: “The Section 1111(b)
    Election, Plan Feasibility and Cramdown Issues”
•   American Bankruptcy Institute, Southwest Bankruptcy Conference, 2011: “Great
    Debates – Third Party Injunctions in Chapter 11 Plans”
•   American Bankruptcy Institute, Spring Meeting 2011: “Ethics and Professional
    Compensation: Actions to Avoid and Recover Fees”
•   American Bankruptcy Institute, Southwest Bankruptcy Conference, 2009: “Great
    Debates – Administration of Administratively Insolvent Estate for the Benefit of a
    Secured Creditor”
•   American Bankruptcy Institute, Spring Meeting 2009: “Great Debates – Sale of
    Assets Free and Clear of Liens Over the Objection of the Secured Creditor”
•   CRG Winter Conference, 2009: “Panel Discussion – Guide for Operating in the
    Zone of Insolvency”
•   American Bankruptcy Institute, Southwest Bankruptcy Conference, 2008: “Claims
    Trading, Fiduciary Duties and Other Pesky Committee Issues”
•   American Bankruptcy Institute, Winter Leadership Meeting, 2006: “Fibermark
    – New Duties and Beyond – Ethical Problems of Committee Membership and
    Representation in a Hedge Fund World”
•   American Bankruptcy Institute, Spring Meeting 2004: “Successor Liability
    Revisited – Recent Developments and Trends”

Ms. Karasik received her B.A., with High Honors in History, from the University of
California, Berkeley in 1984, and her J.D. from the University of Southern California
Law School (Gould School of Law), Order of the Coif, 1991. She was admitted to
the California Bar in 1991. She was admitted to the Ninth Circuit Court of Appeals
in 1991, the United States District Court for the Central and Northern Districts of
California in 1991 and 1992, and the Southern and Eastern Districts of California
in 1994. She has also practiced extensively in federal courts throughout the coun-
try including in Nevada, Arizona, Utah, Delaware, Washington, Illinois, Missouri,
Arizona, Florida and Texas.




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EVE H. KARASIK                                                                 L NB Y& G
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Ms. Karasik is active in various organizations, including:
•   American College of Bankruptcy, (2019–present)
•   American Bankruptcy Institute: Executive Committee of Board of Directors
    (2019–present), Board of Directors 2015–2019), Bankruptcy Battleground West
    Conference, Co-Chair, 2012–2015, Ethics and Compensation Subcommittee,
    Education Director, 2014–15, Newsletter Editor, 2012–2014
•   Ninth Circuit Judicial Conference Lawyer Representative, 2015–2018
•   Los Angeles Bankruptcy Forum, Incoming President (2020–2021), Executive
    Committee Member 2017 to 2020, Board Member 2014
•   Credit Abuse Resistance Education (CARE), Southern California Chapter,
    Advisory Committee Member and Volunteer 2018–present
•   State Bar of California, Business Law Section, Member
•   State Bar of California, Insolvency Law Committee, Member, 2005–2006
•   LA County Bar Association, Commercial Law and Bankruptcy Section, Member
•   Women Lawyers Association of Los Angeles, Former Executive Committee
    Member
•   Turnaround Managers Association (“TMA”) Awards Committee, Member,
    2009–2011
•   TMA Distressed Investing Conference Planning Committee, Member, 2013–2014




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CARMELA T. PAGAY, a partner at LNBY&B, specializes in representation of debtors
in reorganizations and liquidations, creditor committees, and Chapter 7 and Chapter
11 trustees, and bankruptcy litigation.


Ms. Pagay received her Bachelor of Arts Degree in Political Science from the
University of California, Los Angeles in 1994, and her Juris Doctor from Loyola Law
School, Los Angeles in 1997, where she was Senior Production Editor of the Loyola
of Los Angeles International and Comparative Law Journal. Ms. Pagay is admitted
to practice before the United States District Court, Central, Eastern, Northern,
and Southern Districts, the Ninth Circuit Court of Appeals, and the United States
Supreme Court.


She currently sits on the Women Lawyers Association of Los Angeles Foundation                     CARMELA T. PAGAY
Board of Governors, and is a member of the Los Angeles County Bar Association and                 ctp@lnbyg.com

the Asian Pacific American Bar Association of Los Angeles County. Ms. Pagay is also
a longstanding editorial board member of the Los Angeles Lawyer magazine and was
its Chair for 2020–2021.




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JOHN-PATRICK M. FRITZ was named a partner at Levene, Neale, Bender, Yoo &
Golubchik L.L.P. in January 2016. Mr. Fritz advises clients as chapter 11 debtors in
possession, purchasers, post-petition lenders, creditors, committees, and litigants in
bankruptcy related matters. Mr. Fritz is also a Subchapter V Trustee for Chapter 11
Small Business Reorganizations.


Mr. Fritz represents clients in all industries, including start-ups, intellectual property-­
based companies, hotels and hospitality, commercial real estate, food produc-
tion, restaurants, retail, manufacturing, construction, and entertainment and film.
Combining multi-faceted experience with innovation, Mr. Fritz employs a goal-­
oriented approach to achieve successful results, whether as counsel to a company
reorganizing its affairs, a creditor navigating its best recovery, or as Trustee mediating
                                                                                                    JOHN-PATRICK M. FRITZ
a reorganization between debtor and creditor parties.
                                                                                                    jpf@lnbyg.com

For many years, Mr. Fritz has served on the board of directors for the Los Angeles
Bankruptcy Forum, the board of governors and executive committee of the Financial
Lawyers Conference, and the advisory board for the American Bankruptcy Institute’s
annual Bankruptcy Battleground West program. Mr. Fritz is a regular panel speaker
on bankruptcy and restructuring issues for various professional and business organi-
zations, and he has received the honor of being named a “Super Lawyer” and “Rising
Star” by Super Lawyers magazine.


Mr. Fritz served as a judicial law clerk to the Hon. Maureen A. Tighe for two years,
from 2007 to 2009, before joining the firm as an associate in 2009. Mr. Fritz gradu-
ated Tufts University, cum laude, with honors, and Southwestern Law School, magna
cum laude, in the top 5% of his class. Mr. Fritz studied abroad for one year in Kyoto,
worked for the Japanese government in Japan for two years, and is proficient in
Japanese.




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KRIKOR MESHEFEJIAN is a partner at Levene, Neale, Bender, Yoo & Golubchik
L.L.P. He represents clients in all aspects of financial reorganization, corporate
restructuring, insolvency and commercial litigation. He has helped businesses and
individuals successfully and efficiently confirm chapter 11 plans of reorganization,
sell assets, negotiate settlements, and litigate complex legal disputes in bankruptcy
courts. His clients include financially distressed technology, healthcare, natural
resource, restaurant, food processing, real estate investment and other retail, whole-
sale and service businesses, and all types of individuals seeking appropriate debt
relief. He also represents creditors seeking to protect their rights and interests in
bankruptcy cases, and trustees in connection with administering bankruptcy cases.
He applies a “hands-on” approach to all of his cases and provides his clients with
personal attention to all aspects of their case, from inception to conclusion, while
                                                                                                  KRIKOR J.
focusing on obtaining outstanding results in a cost-effective manner. His creative                MESHEFEJIAN
solutions to complex legal and financial problems have helped his clients preserve                kjm@lnbyg.com
their assets and businesses, and protect and enforce their legal rights and claims. He
has been selected to the “Rising Star” list every year since 2013, an honor reserved
for those lawyers who exhibit excellence in practice.


Prior to joining the firm in 2008, Mr. Meshefejian clerked for the Honorable Geraldine
Mund and the Honorable Victoria S. Kaufman, United States Bankruptcy Judges.
Mr. Meshefejian obtained his J.D. in 2007, magna cum laude, from the University of
Illinois College of Law, where he served as senior editor for the Illinois Business Law
Journal and received the Rickert Award for excellence in legal writing.




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LINDSEY L. SMITH joined LNBYG in February 2010. Ms. Smith obtained her law
degree cum laude from Loyola Law School, where she was a member of the Alpha
Sigma Nu and the St. Thomas More Honor Society, and recipient of the First Honors
Award in Election Law. Ms. Smith obtained a B.A. in political science with an empha-
sis in American Politics from Boston University. Ms. Smith has been named a Super
Lawyers Rising Star each year since 2013.


Ms. Smith focuses her practice on the representation of Chapter 11 debtors in pos-
session and Chapter 7 trustees. Ms. Smith has significant experience in successfully
representing Chapter 11 debtors from the beginning of a case filing through plan con-
firmation. Ms. Smith has also represented several Chapter 11 debtors in connection
with Section 363 sales of substantially all of their assets.
                                                                                                LINDSEY L. SMITH
                                                                                                lls@lnbyg.com




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JEFFREY S. KWONG (鄺世傑) joined LNBYG as an associate in 2014. Mr. Kwong
represents Chapter 11 debtors, unsecured creditor committees, secured and unse-
cured creditors, and parties in bankruptcy litigation and appeals from a variety of
industries, including hotels and hospitality, lending and banking, commercial real
estate, restaurants, retail, and healthcare. Mr. Kwong’s prior Chapter 11 debtor
engagements include Cornerstone Apparel, Inc., Anna’s Linens, Tala Jewelers, Inc.,
and Green Fleet Systems, LLC. Further, he has represented commercial landlords in
some of the largest retail bankruptcy cases filed across the country in recent years.


Prior to joining the firm, Mr. Kwong served for two years as law clerk to the Honorable
Deborah J. Saltzman, United States Bankruptcy Judge for the Central District of
California. Mr. Kwong obtained his J.D. in 2012 from the University of California,
                                                                                                  JEFFREY S. KWONG
Berkeley, Boalt Hall School of Law, where he served as an editor for the Berkeley
                                                                                                  jsk@lnbyg.com
Journal of International Law and a Senior Articles Editor for the Asian American
Law Journal. He received his undergraduate degree, summa cum laude, from the
University of California, San Diego.


He is a member of the Beverly Hills Bar Association, Turnaround Management
Association, Los Angeles Bankruptcy Forum, Association for Corporate Growth,
Southern California Chinese Lawyers Association, and Asian Pacific CPA Association.
He also serves as Legal Advisor to the Soo Yuen Fraternal Association of Southern
California.




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PROFESSIONAL RÉSUMÉ                                                                LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
                                                                                                                      LAW OFFICES




JOE ROTHBERG joined LNBYG as a partner in 2021. Mr. Rothberg has broad
experience across a variety of commercial litigation matters, including in state courts,
federal courts, bankruptcy courts, and in private arbitrations. Mr. Rothberg has
conducted litigation across a wide assortment of industries, including the textile and
apparel industries, the aerospace industry, tech industry, the lending and banking
industries, the vending and laundromat industries, the publishing industry, and in the
commercial and residential real estate industries. In addition, Mr. Rothberg serves
as outside general counsel for a number of small to medium-sized businesses in
California and the New York City area.


Before joining the firm, Mr. Rothberg was an attorney at Brutzkus Gubner LLP for
nine years. Prior to that, he served as a judicial extern to the Honorable Maureen
                                                                                                 JOSEPH M. ROTHBERG
A. Tighe, United States Bankruptcy Judge for the Central District of California. Mr.
                                                                                                 jmr@lnbyg.com
Rothberg obtained his J.D. in 2012 from the University of California, Los Angeles,
where he served as the managing editor for the UCLA Journal of International Law
and Foreign Affairs. He received a Bachelor of Arts in 2008 from the University of
California, Berkeley with High Honors in history and a minor in music.


Mr. Rothberg has authored several legal analysis articles for Forbes online, regard-
ing various commercial and intellectual property issues. Mr. Rothberg is licensed to
practice in both California and New York. He is a member of the New York State Bar
Association. Mr. Rothberg has been named a “Rising Star” by Southern California
Super Lawyers each year since 2016, and has been named to the “Up and Coming
100” each year since 2019.




                                                                                pg 1 of 1




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                                                                                                                    LAW OFFICES




JONATHAN D. GOTTLIEB joined LNBYG as a Summer Intern in May 2020,
and began working as an associate in September 2021. Prior to that, Mr. Gottlieb
was a summer extern for Judge Scott C. Clarkson in the Central District of
California – Bankruptcy Court located in Santa Ana, CA. In May 2021, Mr. Gottlieb
obtained his J.D. from the University of California – Hastings College of the Law.
There, Mr. Gottlieb served as a member of the Federalist Society. In 2018, Mr.
Gottlieb obtained a B.A. from the University of Wisconsin – Madison where he
majored in History, with an emphasis on Empire Building and United States
Foreign Policy.




                                                                                               JONATHAN D.
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                                                                               pg 1 of 1




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 11                                     EXHIBIT “2”
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                              [LNBYG HOURLY BILLING RATES]
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ATTORNEYS                     2019        2020       2021        2022

DAVID W. LEVENE               625         635        635         650

DAVID L. NEALE                625         635        635         650

RON BENDER                    625         635        635         650

MARTIN J. BRILL               625         635        635         650

TIMOTHY J. YOO                625         635        635         650

GARY E. KLAUSNER              625         635         635        650

EDWARD M. WOLKOWITZ           625         635        635         650

DAVID B. GOLUBCHIK            625         635        635         650

BETH ANN R. YOUNG             595         610         620        635

MONICA Y. KIM                 595         610        620         635

DANIEL H. REISS               595         610        620         635

PHILIP A. GASTEIER            595         610        620         635

EVE H. KARASIK                595         610        620         635

TODD A. FREALY                595         610        620         635

KURT RAMLO                    595         610        620         635

RICHARD P. STEELMAN, JR.                  610         620        635

JULIET Y. OH                  580         595        605         620

TODD M. ARNOLD                580         595        605         620

CARMELA T. PAGAY              580         595        605         620

ANTHONY A. FRIEDMAN           580         595         605        620

KRIKOR J. MESHEFEJIAN         580         595        605         620

JOHN-PATRICK M. FRITZ         580         595        605         620

JOSEPH ROTHBERG                                       605        620
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JEFFREY KWONG                 450         495        525         575

LINDSEY L. SMITH              495         510        525         550

JONATHAN GOTTLIEB                                    350         350

PARAPROFESSIONALS             250         250        250         250
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2818 La Cienega Avenue, Los Angeles, CA 90034

A true and correct copy of the foregoing document entitled (specify): APPLICATION OF CHAPTER 11 DEBTORS AND
DEBTORS IN POSSESSION TO EMPLOY LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P. AS GENERAL
BANKRUPTCY COUNSEL; DECLARATION OF RON BENDER, ESQ. IN SUPPORT THEREOF will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 17, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Ron Bender rb@lnbyb.com
       Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
       Michael I. Gottfried mgottfried@elkinskalt.com, cavila@elkinskalt.com
       Jonathan Gottlieb jdg@lnbyg.com
       Michael J Hauser michael.hauser@usdoj.gov
       Marsha A Houston mhouston@reedsmith.com, hvalencia@reedsmith.com
       Krikor J Meshefejian kjm@lnbyg.com
       Christopher O Rivas crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
       Lindsey L Smith lls@lnbyg.com, lls@ecf.inforuptcy.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL: On (date) June 17, 2022, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) June 17, 2022, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                             Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 June 17, 2022                  Lourdes Cruz                                                    /s/ Lourdes Cruz
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
